                              Case: 20-40001                       Document: 1           Filed: 01/03/20        Page 1 of 62
  Fill in this Information to identify your case:                                                                      RECEIVED/FILED
  United States Bankruptcy Court for the: DISTRICT OF SOUTH DAKOTA

                                                                                                                            JAN 0 3 2020
  Case number {ifknowny.                                          .Chapter you are filing under                                   CLERK
                                                                   ^ Chapter 7                                 U.S. BANKRUPTCY COURT
                                                                   □ Chapter 11
                                                                                                              DISTRICT OF SOUTH DAKOTA
                                                                   □ Chapter 12
                                                                   □ Chapter 13                                                    □ Check if this is an
                                                                                                                                      amended filing



Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy                                                                                                   12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
Joint case—and in joint eases, these fomis use you to ask for Information from both debtors. For example, If a form asks, "Do you own a car,"
the answer would be yes If either debtor owns a car. When Information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debfor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(If known). Answer every question.


            Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

   Write the name that Is on your
                                     FLORANGEL
   government-issued picture
   identification (for example,      First name                        j                             Ftmt name

   your driver's license or
   passport).                        Middle name                                                     Middle name

   Bring your picture                MORALES
   identification to your meeting    Last name                                                       Last name

   with the trustee.
                                     Suffix (Sr., Jr., II, III)                                      Suffix (Sr.. Jr., 11. ill)




2. All other names you
   have used in the last 8           First name                                                      First name
   years

   Include your married or           Middle name                                                     Middle name
   maiden names.
                                     Last name                                                       Last name




                                     FIret name                                                      First name


                                     Middle name                                                     Middle name


                                     Last name                                                       Last name




   Only the last 4 digits of
   your Social Security              XXX           XX -           1     1      8                     XXX      - XX

   number or federal                OR                                                               OR
   Individual Taxpayer
   Identification number            9 XX - XX -                                                      9 XX - XX
   (ITIN)

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                    page1
                               Case: 20-40001                        Document: 1          Filed: 01/03/20            Page 2 of 62

Debtor 1      FLORANGEL MORALES                                                                        Case number (jrknom)
              Flt«tNam«    Middle Name




                                         About Debtor 1:                                                    About Debtor 2(Spouse Only In a Joint Case);

4. Any business names
    and Employer                         B I have not used any business names or EINs.                      □ I have not used any business names or EINs.
    Identification Numbers
   (EiN) you have used in
    the last 8 years                     Business name                                                      Business name

    Include trade names and
    doing business as names
                                         Business name                                                      Business name




                                         EIN                                                                EIN



                                         EIN                                                                EIN




5. Where you live                                                                                           If Debtor 2 lives at a different address:



                                         4000 SOUTH LOUISE AVENUE
                                         Number             Street                                          Number         Street



                                         112


                                         SIOUX FALLS                               SD       57106
                                         City                                     State     ZIP Code        City                                   State   ZIP Code

                                         MINNEHAHA COUNTY
                                         County                                                             County

                                         if your mailing address Is different from the one                  If Debtor 2's mailing address is different from
                                         above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                        any notices to this mailing address.



                                         Number             Street                                          Number         Street



                                         P.O. Box                                                           P.O. Box




                                         City                                     State    ZIP Code         City                                   State   ZIP Code




6. Why you are Choosing                  Check one:                                                         Check one:
   this district to file for
   bankruptcy                        B Over the last 180 days before filing this petition, i                Q Over the last 180 days before filing this petition, i
                                                have lived in this district longer than in any other           have lived in this district longer than in any other
                                                district.                                                      district.

                                         a i have another reason. Explain.                                 □ i have another reason. Explain.
                                                (See 2SU.S.C.§1408.)                                           (See 28 U.S.C. § 1408.)




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
                               Case: 20-40001           Document: 1             Filed: 01/03/20            Page 3 of 62

    Debtor 1        FLORANGEL MORALES                                                        Case number (irfoiDiwL




                Tell the Court About Your Bankruptcy Case


        The chapter of the         Check one.(For a brief description of each, see Notice Required by 11 U.S.C. §342(b)for Individuals Filing
        Bankruptcy Code you        for Bankruptcy(Form 2010)). Also, go to the top of page 1 and check the appropriate box.
        are choosing to file
        under
                                   0 Chapter 7
                                   □ Chapter 11
                                   □ Chapter 12
                                   □ Chapter 13

    8. How you will pay the fee    □ I will pay the entire fee when i file my petition. Please check with the clerk's office in your
                                      local court for more details about how you may pay. Typically, if you are paying the fee
                                      yourself, you may pay with cash, cashier's check, or money order. If your attorney Is
                                      submitting your payment on your behalf, your attorney may pay with a credit card or check
                                      with a pre-printed address.

                                   □ i need to pay the fee in installments. If you choose this option, sign and attach the Application
                                      for Individuals to Pay The Filing Fee In Installments (Official Form 103A).

                                   0 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                      By law, a judge may, but is not required to, waive your fee, and may do so only if your income Is
                                      less than 150% of the official poverty line that applies to your family size and you are unable to
                                      pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                      Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

                                                                                                                                                  1
i


1 9. Have you filed for            0 No
1      bankruptcy within the
       last 8 years?               Q Yes.   District                                 When                      Case number                        i
                                                                                            MM/ DD/YYYY

                                            District                                 When                      Case number
1                                                                                           MM/ DD/YYYY

                                            District                                 When                      Case number
                                                                                            MM/ DD/YYYY
                                                                                                                                                  1



!
i 10. Are any bankruptcy           B No
                                                                                                                                                  i
       cases pending or being
>      filed by a spouse who is    □ Yes.   Debtor                                                             Reiationship to you                i
                                                                                                                                                  !
       not filing this case with            District                                 When                     Case number, if known               i
•      you, or by a business                                                                MM/DD /YYYY
       partner, or by an
1      affiliate?
                                            Debtor                                                             Relationshio to vou

                                            District                                 When                     Case number, if known
I
                                                                                            MM/DD/YYYY
                                                                                                /
1




    11. Do you rent your           Q No. Go to line 12.
       residence?                    Yes. Has your landlord obtained an eviction judgment against you?

                                            Q No. Goto line 12.
                                            a Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                 part of this bankruptcy petition.




    Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                  pages
                               Case: 20-40001            Document: 1             Filed: 01/03/20               Page 4 of 62

Debtor 1        FLORANGEL MORALES                                                              Case number (/rkfwvm)_




             Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor 0no. Go to Part 4.
    of any full- or part-time
    business?                        Q Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                             Name of business, If any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                     Number      Street

    if you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                               City                                                    State            ZIP Code



                                             Check the appropriate box to describe your business:
                                             D Health Care Business(as defined In 11 U.S.C. § 101(27A))
                                             Q Single Asset Real Estate(as defined in 11 U.S.C.§ 101(51B))
                                             G Stockbroker(as defined in 11 U.S.C.§ 101(53A))
                                             G Commodity Broker(as defined in 11 U.S.C.§ 101(6))
                                             G None of the above


13. Are you filing under             Ifyou are filing under Chapter 11, the court must know whetheryou are a small business debtor so that It
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
   are you a small business          any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
   debtor?
                                        No. I am not filing under Chapter 11.
   For a definition of small
   business debtor, see              G No. I am filing under Chapter 11, but i am NOT a small business debtor according to the definition in
    11 U.S.C. § 101(51D).                    the Bankruptcy Code.

                                     G Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                             Bankruptcy Code.


Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any           0No
   property that poses or is
   alleged to pose a threat          G Yes. What is the hazard??
   of imminent and
   identifiable hazard to
   public health or safety?
   Or do you own any
   property that needs
                                              If Immediate attention is needed, why is it needed?
   immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent mpairs?
                                              Where is the property??
                                                                        Number        Street




                                                                        City                                               State   ZIP Code



Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4
                               Case: 20-40001             Document: 1               Filed: 01/03/20             Page 5 of 62

Debtor 1        FLORANGEL MORALES                                                                 Case number (irknown)_




            Explain Your Efforts to Receive a Briefing About Credit Counseiing


15. Tell the court whether
                                     About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
    you have received a
    briefing about credit            You must check one:                                                 You must check one:
   counseling.
                                        1 received a briefing from an approved credit                   □ I received a briefing from an approved credit
                                        counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   The law requires that you            filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
   receive a briefing about credit      certificate of completion.                                           certificate of completion.
   counseling before you file for
   bankruptcy. You must                 Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   truthfully check one of the          plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
   following choices. If you
   cannot do so, you are not
                                     □ I received a briefing from an approved credit                    □ i received a briefing from an approved credit
                                        counseling agency within the 180 days before I                      counseling agency within the 180 days before I
   eligible to file.
                                        filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but i do not have a
                                        certificate of completion.                                          certificate of completion.
   If you file anyway,the court
                                        Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                        you MUST file a copy of the certificate and payment                 you MUST fiie a copy of the certificate and payment
   will lose whatever filing fee
                                        plan, if any.                                                       plan, if any.
   you paid, and your creditors
   can begin collection activities   Q I certify that I asked for credit counseling                     G I certify that I asked for credit counseling
   again.                               services from an approved agency, but was                           services from an approved agency, but was
                                        unable to obtain those services during the 7                        unable to obtain those services during the 7
                                        days after I made my request, and exigent                           days after I made my request, and exigent
                                        circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                        of the requirement.                                                 of the requirement.
                                        To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                        requirement, attach a separate sheet explaining                     requirement, attach a separate sheet expiaining
                                        what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                        you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                        bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                        required you to file this case.                                     required you to file this case.
                                        Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                        dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                        If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                        still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                        You must file a certificate from the approved                       You must file a certificate from the approved
                                        agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                        developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                        may be dismissed.                                                   may be dismissed.
                                        Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline Is granted
                                        only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                        days.                                                               days.

                                     □ I am not required to receive a briefing about                    G I am not required to receive a briefing about
                                        credit counseling because of:                                       credit counseling because of:

                                        □ Incapacity. I have a mental illness or a mental                   G incapacity. I have a mental illness or a mental
                                                           deficiency that makes me                                           deficiency that makes me
                                                           incapable of realizing or making                                    incapable of realizing or making
                                                           rational decisions about finances.                                  rational decisions about finances.

                                        G Disability.      My physical disability causes me                 G Disability.      My physical disability causes me
                                                           to be unable to participate in a                                    to be unable to participate in a
                                                           briefing in person, by phone, or                                    briefing in person, by phone, or
                                                           through the internet, even after 1                                  through the internet, even after I
                                                           reasonably tried to do so.                                          reasonably tried to do so.
                                        □ Active duty. I am currently on active military                    G Active duty. I am currently on active military
                                                           duty in a military combat zone.                                     duty in a military combat zone.
                                        If you believe you are not required to receive a                    If you believe you are not required to receive a
                                        briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                        motion for waiver'of credit counseling with the court.              motion for waiver of credit counseling with the court.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1       FLORANGEL MORALES                                                             Case number (ifknown)




            Answer These Questions for Reporting Purposes

                                  16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do
                                       as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                       G No. Goto line 16b.
                                       B Yes. Go to line 17.
                                  16b. Are your debts primarliy business debts? Business debts are debts that you incurred to obtain
                                       money for a business or Investment or through the operation of the business or investment.
                                       □ No. Go to line 16c.
                                       G Yes. Goto line 17.

                                  16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                    G No. I am not filing under Chapter 7.
   Do you estimate that after     B Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is                    administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                             0 No
    administrative expenses
    are paid that funds will be              G Yes
    available for distribution
   to unsecured creditors?

18. How many creditors do         Q 1-49
    you estimate that you         G 50-99
    owe?                          G 100-199
                                  G 200-999

19. How much do you               0 $0-$50,000
   estimate your assets to        G $50,001-$100,000
   be worth?                      G $100,001-$500,000
                                  □ $500.001-$1 million

20. How much do you               G $0-$50.000
   estimate your liabilities      Q $50,001-$100,000
   to be?                         G $100,001-5500,000
                                  a $500,001-$1 million
                    Below

                                  I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                           correct.

                                  If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7,11,12, or 13 of
                                  title 11, United States Code. I understand the relief available under each chapter 7, and I choose to proceed under
                                  Chapter?.
                                  If no attorney represents me and I did not pay or agree to pay someone who Is not an attorney to help me fill out
                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief In accordance with the chapter of title 11, United States Code, specified In this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                  with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20 years, or both.
                                  18 U.S.C. §§ 152,1341,1519, and 3571.



                                        latureof ^torl
                                     Signature                                                       Signature of Debtor 2

                                     Executed on MM|1/Q^f  2Q2D
                                                      'DO' /r^
                                                                                                     Executed on
                                                                                                                     MM / DD    /YYYY



Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1      FLORANGEL MORALES                                                      Case number {ifknown)_




For you if you are filing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an            should understand that many people find it extremely difficult to represent
attorney                         themselves successfully. Because bankruptcy has long-term financial and legal
                                 consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not          To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.          technical, and a mistake or inaction may affect your rights. For example, your case may be
                                 dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                 hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                 firm if your case is selected for audit. If that happens, you could lose your right to file another
                                 case, or you may lose protections, including the benefit of the automatic stay.
                                 You must list all your property and debts in the schedules that you are required to file with the
                                 court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                 in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                 property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                 also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                 case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                 cases are randomly audited to detennine if debtors have been accurate, truthful, and complete.
                                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                 If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                 hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                 successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                 Bankruptcy Procedure, and the local rules of the court In which your case is filed. You must also
                                 be familiar with any state exemption laws that apply.

                                 Are you aware that filing for bankruptcy is a serious action vwth long-term financial and legal
                                 consequences?
                                 Q No
                                 B Yes

                                 Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                 inaccurate or incomplete, you could be fined or imprisoned?
                                 Q No
                                 Q Yes

                                 Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                 B No
                                 Q Yes. Name of Person                                                                                 .
                                          Attach Bankruptcy Petition Preparer's Nob'ce, Declaration, and Signature (ptr\c\a\ Form 119).


                                 By signing here, 1 acknowledge that I understand the risks involved in filing without an attorney,
                                 have read and understood this notioe, and!am aware that filing a bankruptcy case without an
                                 attorney may cause me to lose my rights or property if I do not properly handle the case.



                                               Uzv
                                  Signature of ly^tor 1                                       Signature of Debtor 2

                                 Date          01 03 2020                                     Date
                                                MmJdd flVYTf                                                  MM/     DD/YYYY


                                 Contact phone 3057130789                                     Contact phone

                                 Cell phone     3057130789                                    Cell phone

                                 Email address F-MORALES.GUARCH@QMA]LCOM                      Email address




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                pages
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     Debtor 1         FLORANGEL MORALES

     Debtor 2
     (Spouse, iffiling) FintNam«

                                            .
      United States Bankruptcy Court for the:   DISTRICT OF SOUTH DAKOTA

     Case number                                                                                                                        □ Check if this is an
                                                                                                                                             amended filing




    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical information                                                                          12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the Information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.


                  Summarize Your Assets



                                                                                                                                     Your assets

                                                                                                                                     Value of what you own
    1. Schedule A/B: Property (Official Form 106A/B)
        la. Copy line 55, Total real estate, from Schedule A/B.


       1b. Copy line 62, Total personal property, from Schedule A/B.                                                                     s         3850.00

        ic. Copy line 63, Total of all property on Schedule A/B
                                                                                                                                         s         3850.00


                 Summarize Your Liabilities




                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe
j 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
I       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 ot Schedule D.

[ 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Fomn 106E/F)
I       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F
       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.
                                                                                                                                     + s         79160.20


                                                                                                            Your total liabilities      $        79160.20


                 Summarize Your Income and Expenses


    4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                   2008.00
       Copy your combined monthly income from line 12 ot Schedule I.

    5. Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J                                                                                      2310.00




    Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical informi|tion
                                   Case: 20-40001                 Document: 1      Filed: 01/03/20            Page 9 of 62
   Debtor 1          FLORANGEL MORALES                                                          Case number {ifknown)_




                  Answer These Questions for Administrative and Statistlcai Records


   6. Are you filing for bankruptcy under Chapters 7,11, or 13?

       G No.
      0 Yes

   7. What kind of debt do you have?

       1^ Your debts are primarily consumer debts. Consumer debts are those 'Incurred by an Individual primarily for a personal,
          family, or household purpose." 11 U.S.C.§ 101(S). Fill out lines 8-9gfor statistical purposes. 28 U.S.C.§ 159.

       Q Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



       From the Statement of Your Cuirent Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR. Form 122C-1 Line 14.                                                            2504.54




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim



        From Part4 on ScAedu/e &F,copy the following:


      9a. Domestic support obligations(Copy line 6a.)                                                                        0.00


      9b. Taxes and certain other debts you owe the government.(Copy line 6b.)                                               0.00


      9c. Claims for death or personal Injury while you were Intoxicated.(Copy line 6c.)                                     0.00


      9d. Student loans.(Copy line 6f.)                                                                                  30351.00


      9e. Obligations arising out of a separation agreement or divorce that you did not report as        ^                   0.00
              priority claims.(Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts.(Copy line 6h.)          +                       0.00


      9g. Total. Add lines 9a through 9f.                                                                                30351.00




Official Form 106Sum Summary of Your Assets and Liabiiitles and Certain Statistical information                                         page 2
                                 Case: 20-40001                  Document: 1           Filed: 01/03/20          Page 10 of 62



                FLORANGEL MORALES

Debtor 2
(Spouse, Iffiling} Rntttime

                                      .
United States Bankruptcy Court for the:     DISTRICT OF SOUTH DAKOTA

Case number
                                                                                                                                          Q Check if this Is an
                                                                                                '                                           amended filing

Official Form 106A/B

Schedule A/B: Property                                                                                                                                    12/16
In each category, separately list and describe Items. List an asset only once. If an asset fits In more than one category, list the asset In the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

              Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
   ^ No. Go to Part 2.
   □ Yes. Where is the property?
                                                                  What Is the property? Check all that apply.       ^
                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                  a Single-family home                              the amount
                                                                                                                        amount of
                                                                                                                               of any
                                                                                                                                  any ssecured claims on Schedule D:
                                                                  □ Duplex
                                                                    _ . or multi-unit building                      Creditors Who Havt
                                                                                                                    Creditors Who Have Clelms Secured by Property.
            Street address, if available, or other description
                                                                  Q Condominium or cooperative                      Current
                                                                                                                    Current value
                                                                                                                            value of
                                                                                                                                  of the      Current value of the
                                                                  Q Manufactured or mobile home                     entire property?          portion you own?
                                                                  O Land                                            $
                                                                  Q Investment property
                                                                  □ Timeshare                                       Describe the
                                                                                                                    Describe  the nat
                                                                                                                                  nature of your ownership
                                                                  r-i _ .                                                    (suoh as
                                                                                                                    Interest (such  as fee simple, tenancy by
                                                                                                                    the entireties, or a life estate), If known.
                                                                  Who has an Interest in the property? Check one.
                                                                  □ Debtor 1 only
                                                                  Ql Debtor 2 only
                                                                  □ Debtor 1 and Debtor 2 only                      Q Check
                                                                                                                    ^ Check  IfIf this
                                                                                                                                  this Is community property
                                                                  □  At least one of the debtors and another
                                                                                                                      (see
                                                                                                                      (see instructio
                                                                                                                           instructions)

                                                                  Other Information you wish to add about this Item, suoh as local
                                                                  property Identification number:
   If you own or have more than one, list here:
                                                                 What Is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                 □ Single-family home                               die amount of any secured claims on Schedule D:
                                                                                                                    Creditors Who Neve Claims Secured by Property.
                                                                 Q Duplex or multi-unit building
            Street address, if available, or other description
                                                                 □ Condominium or cooperative                       Current value of dte      Current value of the
                                                                 Q Manufactured or mobile home                      entire property?          portion you own?
                                                                 Q Land
                                                                 □ Investment property
                                                                                                                    Describe the nature of your ownership
                                                                 Q Timeshare
                                                                                                                    interest (such as fee simple, tenancy by
                                                                 □ Other                                            tiie entireties, or a life estate), If known.
                                                                 Who has an interest In the property? Chedc one.
                                                                 Q Debtor 1 only
                                                                 □ Debtor 2 only
                                                                 □ Debtor 1 and Debtor 2 only                       Q Check If this Is community property
                                                                 □ At least one of the debtors and another              (see instructions)

                                                                 Other information you wish to add about this item, suoh as local
                                                                 property Identification number


Official Form 106A^                                              Schedule A/B: Property
                                    Case: 20-40001                  Document: 1            Filed: 01/03/20             Page 11 of 62
   Debtor 1          FLORANGEL MORALES                                                                   Case number (/rjcnown)_




                                                                    What Is the property? Check all that apply.              Do not deduct secured claims'or exemptions; Put .
                                                                    Q Single-family home                                     the amount of any secured claims on Schedule D:
       1.3.                                                                                                                  Creditors Who Have Claims Secured by Property.
              Street address, If available, or other description    □ Duplex or multi-unit building
                                                                    a Condominium or cooperative                             Current value of the       Current value of the
                                                                                                                             entire property?           portion you own?
                                                                    □ Manu^ctured or mobile home
                                                                    □ Land                                                                              $
                                                                    a Investment property
              City                            State      ZIP Code   Q Timeshare                                             Describe the nature of your ownership
                                                                                                                            Interest (such as fee simple, tenancy by
                                                                    □ Other                                                 the entireties, or a life estate). If known.
                                                                    Who has an Interest In the property? Check one.
                                                                    □ Debtor 1 only
              County
                                                                    Q Debtor 2 only
                                                                    Q Debtor 1 and Debtor 2 only                            a Check if this Is community property
                                                                                                                                   (see instructions)
                                                                    □ At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property Identification number:


 2. Add the dollar value of the portion you own fdr all of your entries from Part 1, Including any entries for pages                                                     0.00
    you have attached for Part 1. Write that number here




  Part 2:      Describe Your Vehicles



I Do you own, lease, or have legal or equitable Interest In any vehicles, whether they are registered or not? include any vehicles
  you own that someone else drives, if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     0 No
     □ Yes

      3.1.    Make;
                                                                    Who has an Interest In the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
              Model:
                                                                    □ Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                    □ Debtor 2 only
              Year:                                                                                                         Current value of the        Current value of the
                                                                    □ Debtor 1 and Debtor 2 only
              Approximate mileage:                                                                                           entire property?           portion you own? I
                                                                    □ At least one of the debtors and another
              Other information:
                                                                    G Check If this Is community property (see
                                                                       Instructions)



     If you own or have more than one, describe here:

      3.2.    Make:
                                                                    Who has an Interest In the property? Check one.          Do not deduct secured claims or exemptions. Put     \
                                                                                                                             the amount of any secured claims on Schedule D:. [
              Model:
                                                                    □ Debtor 1 only                                          Cred/tors Who Have Claims Secured by Property. [
                                                                    G Debtor 2 only
              Year:                                                                                                          Current value of the       Current value of the
                                                                    G Debtor 1 and Debtor 2 only
                                                                                                                             entire property?           portion you own?
              Approximate mileage:                                  G At least one of the debtors and another
              Other information:
                                                                    G Check If this Is community property (see
                                                                       instructions)




  Official Form 106A/B                                              Schedule A/B: Property                                                                     page 2
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 Debtor 1        FLORANGEL MORALES                                                           Case number (ifto?own>_




    3.3.    Make;                                       Who has an interest In the property? Check one.          Do not deduct secured claims or exemptions. Put    ;j
                                                                                                                 the amount of any,secured claims on Schedw/e D: .i
            Model:                                      Q Debtor 1 only                                          Credi'tore Who Have Claims Secured by Property. \
                                                        □ Debtor 2 only
            Year:                                                                                                Current value of the      Current value of the
                                                        □ Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                 entire property?          portion you own?
                                                        Q At least one of the debtors and another
            Other information:
                                                        □ Check If this Is community property (see
                                                           instructions)


    3.4.    Make;
                                                        Who has an interest In the property? Check one.          Do not deduct secured claims or exemptions. Put,
                                                                                                                 the amount of any secured claims on Schedule D:
            Model:                                      Q Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                        a Debtor 2 only
            Year:
                                                        Q Debtor 1 and Debtor 2 only                            Current value of the Current value of the |
            Approximate mileage:                                                                                 entire property?          portion you own?         |
                                                        □ At least one of the debtors and another
            Other information:
                                                        Q Check If this Is community property (see
                                                           instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   0 No
   Q Yes


    4.1.    Make:
                                                        Who has an Interest In the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
            Model:
                                                       O Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                       Q Debtor 2 only
            Year:
                                                       □ Debtor 1 and Debtor 2 only                             Current value of the       Current value of the
            Other information:                          a At least one of the debtors and another               entire property?           portion you own?


                                                        □ Check If this is community property (see
                                                           instructions)



   If you own or have more than one, list here:

    4.2.    Make:                                      Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put, s
                                                                                                                the amount of any secured claims on Schedule D: ' i
            Model:                                      Q Debtor 1 only                                         Creditors Who Have Claims Secured by Property. |
                                                       Q Debtor 2 only
            Year:                                                                                               Current value of the       Current value of the ;
                                                       □ Debtor 1 and Debtor 2 only                             entire property?           portion you own?         i
            Other information:                          Q At least one of the debtors and another

                                                        O Check if this is community property (see
                                                           instructions)




5. Add the doiiar value of the portion you own for all of your entries from Part 2, includiris any entries for pages                                       0.00
   you have attached for Part 2. Write that number here                                     .:.l.\lL          D.'.l!




Official Form 106A/B                                    Schedule A/B: Property                                                                    page 3
                              Case: 20-40001               Document: 1             Filed: 01/03/20              Page 13 of 62
 Debtor 1       FLORANGEL MORALES                                                                 Case number </rknovm)_




Part 3:       Describe Your Personal and Household items

                                                                                                                                Current value of the
Do you own or have any legal or equitable Interest in any of the following Items?                                               portion you own?
                                                                                                                                Do not deduct secured.daims
                                                                                                                                or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    □ No
        Yes. Describe.        BED, BEDDING, CHAIRS, COOKING UTENSILS, COUCH, EATING                                                              2000.00
                              UTENSILS. TOWELS. APPLIANCES. SHOWER CURTAINS. WINDOW
7. Eiectronlcs

    Examples: Televisions and radios; audio, video, stereo, and digitai equipment; computers, printers, scanners; music
              collections; electronic devices inciuding cell phones, cameras, media piayers, games
    Q No
        Yes. Describe.        OTHER, SMARTPHONE, AND TV                                                                                           350.00

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card coiiections; other coliections, memorabilia, collectibles
    □ No
        Yes. Describe...,     DISNEY PINS AND DOLLS.                                                                                              250.00

9. Equlpmentfor sports and hobbles
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
              and kayaks; carpentry tools; musical instruments
    Q No
    Q Yes. Describe                                                                                                                                   0.00

10. Firearms

    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    B No
    Q Yes. Describe                                                                                                                                   0.00

:;idlClothes
    ilExamples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
  \0 :Nb
        Yes. Describe.        ALL CLOTHES AND FOOTWEAR                                                                                            500.00


12. Jewelry
    Examples: Everyday jewelry, costume Jewelry, engagement hngs, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    B No
    □ Yes. Describe                                                                                                                                   0.00

13. Non-farm animals

    Examples: Dogs, cats, birds, horses
    B No
    G Yes. Describe                                                                                                                                   0.00


14. Any other personal and household items you did not already list, including any health aids you did not list

    □ No
        Yes. Give specific
                              WORK COMPUTER AS I WORK FROM HOME. COMPANY PROPERTY.                                                               150.00
        information.

15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached                                   3250.00
    for Part 3. Write that number here                                                                                     ^



 Official Form 106A/B                                       Schedule A/B: Property                                                           page 4
                                 Case: 20-40001                   Document: 1          Filed: 01/03/20             Page 14 of 62
    Debtor 1      FLORANGEL MORALES                                                                  Case number (/'r*novm)_




               Describe Your Financial Assets


    Do you own or have any legal or equitable Interest|n any of the following?                                                         Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured claims
                                                                                                                                       or exemptions.


    16.Cash
       Examples: Money you have in your wallet, In your home, in a safe deposit box, and on hand when you file your petition

       B No
       Q Yes.                                                                                                        Cash:                                0.00



    17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                  and other similar institutions. If you have multiple accounts with the same Institution, list each.
       □ No
       B Yes.                                                      Institution name:



                                 17.1. Checking account:           JPMORGAN CHASE                                                                       100.00

                                 17.2. Checking account:

                                 17.3. Savings account:

                                 17.4. Savings account:

                                 17.5. Certificates of deposit:

                                 17.6. Other financial account:


                                 17.7. Other financial account


                                 17.8. Other financial account:


                                 17.9. Other f nancial account:




    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, Investment accounts with brokerage firms, money market accounts
       0 No
       Q Yes                     Institution or issuer name:




I 19. Non-publlcly traded stock and Interests In Incorporated and unincorporated businesses, including an interest In
i      an LLC, partnership, and joint venture
i
I      B No                      Name of entity:                                                                     % of ownership:
j      G Yes. Give specific                                                                                                     %
          Infomiation about
          them                                                                                                                  %

                                                                                                                                %




    Official Form 106A/B                                          Schedule A/B: Property                                                            page 6
                                  Case: 20-40001                    Document: 1          Filed: 01/03/20          Page 15 of 62
    Debtor 1       FLORANGEL MORALES                                                                Case number (itknown)
                   First Name    Middle Name            Last Name




    20. Government and corporate bonds and other negotiable and non>negotiable instruments
       Negotiable instruments Include personal checks, cashiers' checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       0 No
       □ Yes. Give specific      Issuer name:
           information about
           them




    21. Retirement or pension accounts
        Examples: Interests In IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       B No
       □ Yes. List each
         account separately. Type of account:              Institution name:

                                 401(k)orsimilarplan:

                                 Pension plan:

                                 IRA:

                                 Retirement account:

                                 Keogh:

                                 Additional account:

                                 Additional account;




! -22. Security deposits and prepayments
j      Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
       companies, or others

       □ No
       0 Yes.                                          institution name or individual:

                                 Electric:

                                 Gas:

                                 Heating oil:

                                 Security deposit on rental unit LLOYD PROPERTIES                                                        500.00

                                 Prepaid rent:

                                 Telephone:

                                 Water

                                 Rented furniture:

                                 Other;




    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       0 No
       Q Yes                     Issuer name and description:




    Official Form 106A/B                                            Schedule A/B: Property                                            page 6
                                 Case: 20-40001               Document: 1            Filed: 01/03/20             Page 16 of 62
     Debtor 1      FLORANGEL MORALES                                                               Case number {fftoonn)_




    24.Interests In an education IRA, In an account In a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1}. 529A(b), and 529(b)(1).
       0 No
       ^                                Institution name and description. Separately file the records of any interests.11 U.S.C.§ 521(c):




    25.Trusts, equitable or future Interests In property (other than anything listed In line 1), and rights or powers
       exerclsable for your benefit

       El No
       G Yes. Give specific
           information about them....                                                                                                                           0.00


j 26. Patents, copyrights,trademarks,trade secrets, and other intellectuai property
I      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
I      0 No
I      Q Yes. Give specific
!          information about them....                                                                                                                           0.00


    27. Licenses,franchises, and other general Intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       0 No
       □ Yes. Give specific
           information about them....                                                                                                                           0.00

1
    Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured      ■
                                                                                                                                            claims brexemptiphs'.".-

    26. Tax refunds owed to you
       0 No
        Q Yes. Give specific information                                                                              Federal;              S
                about them, including whether
                you already filed the returns                                                                         State:                $
                and the tax years
                                                                                                                      Local:                $



i 29. Family support
i      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
i      0 No
i      □ Yes. Give specific information.
                                                                                                                   Alimony;                 $

                                                                                                                   Maintenance:             $

                                                                                                                   Support:                 $

                                                                                                                   Divorce settlement       $

                                                                                                                   Property settlement:     $


    30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation.
                 Social Security benefits; unpaid loans you made to someone else
       0 No
       □ Yes. Give specific information
                                                                                                                                                                  0.00 i


     Official Form 106A/B                                      Schedule MB: Property                                                                    page 7
                               Case: 20-40001                 Document: 1               Filed: 01/03/20              Page 17 of 62
Debtor 1        FLORANGEL MORALES                                                                       Case number (/rfawwo).




31. Interests in Insurance policies
   Examples: Health, disability, or life insurance;health savings account(HSA);credit, homeowner's, or renter's insurance
   B No
   □ Yes. Name the insurance company                 company i                                            Beneficiary:                                Surrender or refund value:
             of each policy and list its value....




32. Any interest In property that is due you from someone who has died
    if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   B No
   G Yes. Give specific information
                                                                                                                                                                          0.00


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   B No
   □ Yes. Describe each claim
                                                                                                                                                                           0.00

34. Other contingent and unliquidated claims of every nature. Including counterclaims of the debtor and rights
   to set off claims
   B No
   □ Yes. Describe each claim
                                                                                                                                                                          0.00



35. Any financial assets you did not already list
   B No
   □ Yes. Give specific information                                                                                                                                       0.00 i


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here                                                                                                                                  600.00




Part 5:      Describe Any Business-Related Property You Own or Have an interest in. List any real estate in Part 1.

37. Do you own or have any legal or equitable Interest In any business-related property?
   B No. Goto Part6.
   G Yes. Go to line 38.
                                                                                                                                                  Current value of the
                                                                                                                                                  portloii you own?
                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                  or exemptions.

38. Accounts receivable or commissions you already earned
   G No
   G Yes. Describe
                                                                                                                                                  »
39. Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks,.chairs, electronic devices
   G No                                                                                                          /
   G Yes. Describe...



 Official Form 106A/B                                            Schedule A/B: Property                                                                          page 8
                            Case: 20-40001             Document: 1           Filed: 01/03/20           Page 18 of 62
 Debtor 1      FLORANGEL MORALES                                                         Case number (incnown)_




40. Machinery,fixtures, equipment,supplies you use In business, and tools of your trade

   Q No
   a Yes. Describe..,



41.Inventory
   Q No
   □ Yes. Describe.


42. Interests In partnerships or Joint ventures
   □ No
   □ Yes. Describe         Name of entity:                                                                 % of ownership:

                                                                                                                   %         $
                                                                                                                   %         $
                                                                                                                   %         $


43. Customer lists, mailing lists, or other compilations
    Q No
   □ Yes. Do your lists include personally Identifiable information (as defined in 11 U.S.C. § 101(41A))?
            □ No
            □ Yes. Describe



44. Any business*related property you did not already list
   Q No
   □ Yes. Give specific
       information




45. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
   for Part 6. Write that number here




Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an Interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   Of No. Go to Part 7.
   □ Yes. Goto line 47.
                                                                                                                             Cuirerit value of the       |
                                                                                                                             portion you own?        .    i
                                                                                                                             Do not deduct secured claims !
                                                                                                                             or exemptions.        '.    I
47. Farm animals                                                                                                                                         I
   Examples: Livestock, poultry, farm-raised fish
   □ No
   □ Yes




 Official Form 106A/B                                      Schedule A/B: Property                                                         page 9
                                  Case: 20-40001           Document: 1           Filed: 01/03/20          Page 19 of 62
    Debtor!        FLORANGEL MORALES                                                         Case number {itknown)_




    48. Crops—either growing or harvested
j      □ No
I      a Yes. Give specific
           information.


! 49. Farm and fishing equipment, Impiements, machinery, fixtures, and tools of trade
I      □ No
i      □ Yes


    50. Farm and fishing suppiles, chemioais, and feed
       □ No
       □ Yes



    51. Any farm- and eommerclai fishing-related property you did not aiready list
       G No
       Q Yes. Give specific
           information


    52. Add the dollar value of all of your entries from Part 6, Including any entries for pages you have attached                         0.00
       for Part 6. Write that number here




                Describe All Property You Own or Have an interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       0 No
       □ Yes. Give specific
           information




    54. Add the dollar value of all of your entries from Part 7. Write that number here



                List the Totals of Each Part of this Form


                                                                                                                                        0.00
i 55. Part 1: Total real estate, line 2                                                                                       ; $.

1 56.Part 2: Total vehicles, line 6                                        $
                                                                                          0.00


1 57. Part 3: Total personal and household items, line 16                  $
                                                                                     3250.00


1 58. Part 4: Total financial assets, line 36                              $
                                                                                      600.00

1 59. Part 6: Total business-related property, line 46                     $
                                                                                            0


1 60. Part 6: Total farm- and fishing-related property, line 62            $
                                                                                          0.00


1 61. Part 7: Total other property not listed, line 64                  +$                  0


    62.Total personal property.Add lines56through61.                                 3850.00 Copy personal property total ^      $   3850.00



I 63.Total of all property on Schedule MB. Add line 55 + line 62.                                                                    3850.00




    Official Form 106A/B                                    Schedule MB: Property                                                    page 10
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  Debtor 1         FLORANGEL MORALES
                    Rrel Nains                  Middia Nams               Last Name


  Debtor 2
 (Spouse, K filing) First Mama                  Middta Nams               Last Kama

  United States Bankmptcy Court tor toe: DISTRICT OF SOUTH DAKOTA

  Case number
  (If known)




Official Form 106G

Schedule C: The Property You Claim as Exempt                                                                                                                04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Sch&dule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part2:Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you ciaim. One way of doing so is to state a
specific doilar amount as exempt. Aitemativeiy, you may ciaim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, If you ciaim an exemption of 100% of fair market value under a law that
limits the exemption to a particular doilar amount and the value of the property is determined to exceed that amount, your exemption
would l>e limited to the applicable statutory amount.


                identify the Property You Ciaim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even ifyour spouse is filing with you.
     a You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C.§ 522(b)(3)
     G You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt,flit in the information below.


       Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own

                                                              Copy the value from      Check only one t)ox for each exemption.
                                                              Schedule A/B


      Brief                  ^HOUSEHOLD GOODS                                2000.00   Qj            2000.00                     Fla. Stat Ann.§ 222.25
      description:          —
      Line from
                                                                                       G 100% of fair market value, up to
      Schedule A/B:          ®                                                            any applicable statutory limit


      Brief                  g
                             ELECTRONICS                                      350.00   13 $           350.00                     Fla. star. Ann.§ 222.25
     description:           —
      Line from             7                                                          G 100% of fair market value, up to
      Schedule A/B: ~                                                                     any appllc^le statutory limit

      Brief                                                                                                                      Ra Star. Ann.S 222.25
                             COLLECTIBLES                                     250-00   G$             250.00
      description:          —
      Line from                                                                        G 100% of fair market value, up to
      Schedule A/B: 1                                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,360?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
     B No
     G Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          □ No
          G Yes


Officid Form 106C                                             Schsduie C: The Property You Ciaim as Exempt
                            Case: 20-40001             Document: 1             Filed: 01/03/20              Page 21 of 62
Debtor 1      FLORANGEL MORALES                                                               Case number




             Additional Page

      Brief desoriptlen of the property and line     Current vaiuo.of the     Amount of the exemption you olalm         Speoiflo laws that allow exemption
      on Sd/iedu/e A/B that lists this property      portioit you own '
                                                     Copy the value from      Check only one box for each exemption
                                                     Schedule AS

     Brief
                      CLOTHES                                       500.00    10^             500.00                  Fla. Stat. Ann. § 222.25
     description:
     Line from       _11                                                      □ 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit


     description:
                      WORK COMPUTER AS I WORK FROM                   150.00   0$              150.00                  Ra. Stat Ann. § 222.25

     Line from
                                                                              □ 100% of fair market value, Up to
     Schedule A/B:
                      14                                                          any applicable statutory limit


     Brief
     description:
                      JPMORGAN CHASE                                100.00
                                                                              l^$_            100.00                  Fla. stat Ann. § 222.25


     Line from        17                                                      □ 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief            LLOYD PROPERTIES                              500.00    10 ^         500.00                     Ra. Stat Ann. § 222.25
     description:
     Line from        22                                                      Q 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:    —                                                        □$
     Line from                                                                Q 100% of fair market value, up to
     Schedule A/B:   —                                                            any applicable statutory limit

     Brief
     description:                                                             □$
     Line from                                                                Q 100% of fair market value, up to
     Schedule /WB:                                                                any applicable statutory limit

     Brief
     description:                                                             □$
     Line from
                                                                              CJ 100% of fair market value, up to
     Sche^leAi/B:                                                                 any applicable statutory limit

     Brief
     description:                                                             □$
     Line from
                                                                              Q 100% of fair market value, up to
     Schedule A'S;                                                                any applicable statutory limit


     Brief
     description:                                                             □$
     Line from
                                                                              Q 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             a
     Line from                                                                a 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             □$
     Line from                                                                Q 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit


     Brief
     description:                                                             □$
     Line from
                                                                              □ 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit



Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                                  page 2
                                 Case: 20-40001               Document: 1               Filed: 01/03/20              Page 22 of 62



 Debtor 1          FLORANGEL MORALES

 Debtor 2
(Spouse, if filing) First Nam*


 United States Bankruptcy Courtfor ttie: DISTRICT OF SOUTH DAKOTA
 Case number
 (If known)                                                                                                                                     □ Check if this is an
                                                                                                                                                   amended filing


Official Form 1Q6D
Schedule D; Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, copy the Additional Page, fill it out, number the entries, and attach It to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   □ Yes. Fill in all of the information below.

               List All Secured Claims

                                                                                                                   Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of elaim                 Value of oollateral   Unseoured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. oo not deduct the              ttiat supports this   portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.                        of collateral.   elaim                 If any
                                                    Describe the property that secures the olaim:
    Creditor's Name




                                                    As of the date you file, the elaim is: Check all that apply.
                                                    G Contingent
                                                    G Unliquidated
    City                         State   ZIP Code
                                                    G Disputed
  Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Q Debtor 1 only                                   G An agreement you made (such as mortgage or secured
  G Debtor 2 only                                       car loan)
  G Debtor 1 and Debtor 2 only                      G Statutory lien (such as tax lien, mechanic's lien)
  G At least one of the debtors and anottier        G Judgment lien from a lawsuit
                                                    G Other (including a right to offset)
  G Check If this elaim relates to a
       community debt
  Date debt was ineurred                            Last 4 digits of aeeount number

                                                    Doseribe the property that seeures the elaim:
    Creditor's Name




                                                    As of the date you file, the elaim is: Check all that apply.
                                                    G Contingent
                                                    G Unliquidated
    City                         State   ZIP Code   G Disputed
  Who owes the debt? Check one.                     Nature of lion. Check all that apply.
  G Debtor 1 only                                   G An agreement you made (such as mwlgage or secured
  G Debtor 2 only                                       car loan)
  G Debtor 1 and Debtor 2 only                      G Statutory lien (such as tax lien, mechanic's lien)
  G At least one of the debtors and another         G Judgment lien from a lawsuit
                                                    G Ofrier (including a right to offset)
 G Cheek if this elaim relates to a
       eommunity debt
  Date debt was ineurred                            Last 4 digits of aeeount number

    Add the dollar value of your entries in Column A on this page. Write that number here:

Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property
                                 Case: 20-40001            Document: 1              Filed: 01/03/20              Page 23 of 62

  Debtor 1        FLORANGEL MORALES
  Debtor 2
 (Spouse, iffiling) nistNama


  United States Bankruptcy Court for the: DISTRICT OF SOUTH DAKOTA
                                                                                                                                          □ Check if this is an
  Case number
  (If known)                                                                                                                                  amended filing


Official Form 106E/F
Schedule E/F; Creditors Who Have Unsecured Ciaims                                                                                                        12/15
Bo as complote and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NQNPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases {01fie\a\ Form 1066). Do not Include any
creditors with partially secured claims that are listed in Schedule D; Creditors Who Have Claims Secured by Property. If more space Is
needed, copy the Part you need, fill It out, number the entries In the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

               List All of Your PRIORITY Unsecured Claims


1. Do any creditors have priority unsecured claims against you?
    Q No. Go to Part 2.
    Q Yes.
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name, if you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                           Total claim   Priority     Nenprlerlt;
                                                                                                                                         amourit      amount


                                                            Last 4 digits of aeeount number
      Prtority Creditcw's Name

                                                            When was the debt inouired?
      Number          Street

                                                            As of the date you file, the olalm Is; Check all that apply,
                                                            a Contingent
                                                            Q Unliquidated
     Who Ineurrad th# dobt? Check one.
                                                            Q Disputed
     Q Debtor 1 only
     □ Debtor 2 only                                        Type of PRIORITY unsecured claim:
      Q Debtor 1 and Debtor 2 only                          Q Domestic support obligations
      Q At least one of the debtors and another
                                                            a Taxes and certain other debts you owe the government
      Q Choek if this eiaim is for a oommunity dabt         Q Claims for death or personal Injury vtrhile you were
                                                                intoxicated
     Is tha elalm subjoot to offset?
     □ No                                                   Q other. Specify


                                                            Last 4 digits of aeeount number
     Priority Creditors Name
                                                            When was the debt Ineurred?

                                                            As of the date you file, the claim Is: Check all that apply.
                                                            Q Contingent
                                                            □ Unliquidated
     Who Ineurred the debt? Check one.                      Q Disputed
      Q Debtor 1 only
                                                            Typo of PRIORITY unsecured claim:
     a Debtor 2 only
                                                            Q Domestic support obligations
     Q Debtor 1 and Debtor 2 only
     a At least one of the debtors and another              Q Taxes and certain other debts you owe the government
                                                            □ Claims for death or personal Injury while you were
     Q Cheek if this olalm Is for a community debt              intoxicated

     Is the elaim subjeotto offset?                         Q Ottier. Specify
     □ No
     CJ Yes


Official Form infiF/F                             Sehodulo E/F; Creditors Who Hava Unsecured Claims
 Debtor 1
                           Case:
                    FLORANGEL    20-40001
                              MORALES                               Document: 1      Filed: 01/03/20       Page 24 of 62
                                                                                               Case number {ifknovm)_
                   Fir^Name          Middle Name        Last Name



                 List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      Q Yes
  4. List all of your nonpriority unsecured claims In the alphabetical order of the creditor who holds each clalrn. If a creditor has more than orie
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, Identify what type of claim it is. Do not list claims already
      included In Part Ufmore than one creditor holds a particular claim, list the other creditors jn Part a.lf ypu have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                      ^i>Total claim
4.1    AT&T MOBILITY
                                                                                 t-ast 4 digits of aooount number 3400 _
       Nonpriority Creditor's Name                                                                                                                            585.62
       1025 LENOX PARK BLVD NE(FOXBORO ROAD)                                     When was the debt incurred?            1970
       Numlser          Street

       BROOKHAVEN                                  OA                30319

       City                                        State            ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                Q Contingent
       Who Incurred the debt? Check one.                                        Q Unliquidated
       a Debtor 1 only                                                          □ Disputed
       Q Debtor 2 only
       Q Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
       Q At least one of the debtors and another                                 Q Student loans
       Q Check if this claim Is for a community debt                             Q Obligations arising outof a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                           Q Debts to pension or pro^t-sharing plans, and other similar debts
       0 No                                                                      ^ Other, Specify COLLECTION
       Q Yes

4,2    ADVANCE AMERICA                                                          Last 4 digits of account number UNKNOWN                                       380.00
       Nonpriority Creditor's Name                                              When was the debt incurred?              20T8
       3003 60TH STREET

       Number          Street
       LUBBOCK                                     TX                79413
                                                                                As of the date you file, the olaim is: Check ait that apply.
       City                                        State            ZIP Code
                                                                                Q Contingent
       Who incurred the debt? Check one.                                        Q Unliquidated
       0 Debtor 1 only                                                          Q Disputed
       Q Debtor 2 only
                                                                                Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only
       a At least one of the debtors and another                                 a Student loans
                                                                                 Q Obligations arising out of a separation agreement or divorce
       Q Check if this claim is for a oommunity debt                                 that you did not report as priority claims
       Is the claim subject to offset?                                          Q Debts to pension or profit-sharing plans, and other similar debts
       0 No                                                                     l&f Other. Specify PAYDAY LOAN
       Q Yes
4.3
        AMAZON                                                                  Last 4 digits of account number UNKNOWN
       Nonpnority Creditor's Name                                                                                                                     S     1250.00
                                                                                When was the debt incurred?              2Q1 7
        410 TERRY AVENUE NORTH
       Number          Street

       SEATTLE                                     WA                98109
                                                                                As of the date you file, the olaim is: Check ail that apply.
       City                                        State            ZIP Code

                                                                                Q Contingent
       Who incurred the debt? Check one.
                                                                                Q Unliquidated
              Debtor 1 only
                                                                                Q Disputed
       Q Debtor 2 only
       Q Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
       a At least one of the debtors and another
                                                                                Q Student loans
       Q Check if this claim Is for a community debt                            Q Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                                □ Debts to pension or profit-sharing plans, and other similar debts
       or No
                                                                                Q* other. Specify AMAZON STORE CARD
       Q Yes



Official Form lORF/F                                     Schedule E/P: Creditors Who Have Unsecured Claims                                                pages
  Debtor 1                 Case:
                    FLORANGEL    20-40001
                              MORALES                          Document: 1         Filed: 01/03/20      Page 25 of 62
                                                                                             Case number {ifknown)_
                   First Name        Middle Name




                 Your NONPRIORITY Unsecured Claims — Continuation Page


  After listing any entries on this page, number them beginning with 4.4,followed by 4.6, and so forth.                                                     Total claim'


 4.4
        BANK OF AMERICA                                                           Last 4 digits of account number _^24                                       239.00
       Nonpriority Creditor's Name

        FOB 17054
                                                                                  When was the debt incurred?             7/9/13
       Number           Street
                                                                                  As of the date you file, the olalm is: Check all that apply.
        WILMINGTON                                  DE           19884
       City                                        SUte        ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who inourred the debt? Check one.
                                                                                  Q Disputed
              Debtor 1 only
       Q Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               Q Studentloans
       Q At least one of the debtors and another
                                                                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheok if this olalm is for a eemmunlty debt
                                                                                  Q Debts to pension or profit-sharing plans, and other similar debts
       Is the eiaim subjeet to offset?                                            B other. Specify CREDIT CARD
       Ef No
       Q Yes


4.5

        CAPITAL ONE BANK USA N                                                    Last4 digits of account number 0533                                       678.00
       Nonpriority Creditor's Name

        PO BOX 85520
                                                                                  When was the debt incurred?             4/3/16
       Number           Street
                                                                                  As of the date you file, the elaim is: Check all that apply.
        RICHMOND                                    VA           23285

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                  □ Disputed
       B Debtor 1 only
       Q Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only
                                                                                  B Studentloans
       □ At least one of the debtors and another
                                                                                  B Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       □ Check if this elaim Is for a community debt
                                                                                  B Debts to pension or profit-sharing plans, and other similar debts
       is the claim subject to offset?                                            B Other. Specify CREDIT CARD
       d No
       □ Yes

4.6
                                                                                                                                                        S 9500.00
       CARMEN MARINO                                                              Last 4 digits of account number UNKNOWN
       Nonpriority Creditors Name
       20 EDGEWATER PLACE
                                                                                  When was the debt incurred?             2013
       Number          Street
       EDGEWATER                                    NJ          07020
                                                                                  As of the date you file, the claim Is: Check all that apply.

       City                                        State       ZIP Code          B Contingent
                                                                                 B Unliquidated
       Who Incurred the debt? Check one.
                                                                                 B Disputed
       a Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              B student loans
       Q At least one of the debtors and another                                 B Obligations arising outof a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Check if this claim is for a community debt
                                                                                 B Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                           B other. Specify PERSONAL LOAN
       ^ No
       Q Yes




Offidal Form lOfiF/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
 Debtor 1                Case:
                  FLORANGEL    20-40001
                            MORALES                            Document: 1         Filed: 01/03/20       Page 26 of 62
                                                                                             Case number atknovm)



                Your NONPRIORITY Unsecured Claims — Continuation Page


  After listmg any entries on this page, number them beginning with 4.4,foilowed by 4.6, and so forth.                                                  :?^Total oiaim.



4.7

       CENTRAL FLORIDA REGIONAL HOSPITAL                                          Last 4 digits of aoeount number UNKNOWN                               s 3000.00
       Nonpriority Creditor's Name

       1401WSEMINOLE BLVD.
                                                                                  When was the debt Inourred?             5/6/17
       Number          Street
                                                                                  As of the date you file, the eialm is: Check all that apply.
       SANFORD                                      FL          32771
       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who inourred the debt? Check one.
                                                                                  Q Disputed
       B Debtor 1 only
       O Debtor 2 only                                                           Type of NONPRIORITY unsecured claim;
       Q Debtor 1 and Debtor 2 only                                               Q Student loans
       Q At least one of the debtors and another                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this elairn is for a eemmunity debt
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
       is the elaim subjeetto offset?                                             B other. SDecifv MEDICAL
       Si No
       □ Yes


4.8

       DEPTOF EDUCATION/NELN                                                      Last 4 digits of aeoount number 7099                                      2479.00
       Nonpriority Creditor's Name

       121 S13TH ST
                                                                                 When was the debt inourred?             10/4/10
       Number          Street
                                                                                 As of the date you file, the oiaim Is: Check all that apply.
        LINCOLN                                     NE          68508

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who inourred the debt? Check one.
                                                                                  Q Disputed
       a Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              EI student loans
       Q At [east one of the debtors and another                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       □ Cheok if this olaim is for a eommunity debt
                                                                                  Q Debts to pension or profit-sharing plans, and other similar debts
       Is the elaim subjeot to offset?                                            G Other. Specify
       el No
       Q Yes

4.9
                                                                                                                                                            2419.00
       DEPT OF EDUCATION/NELN                                                    Last 4 digits of aeoount number 4686
       Nonpriority Creditor's Name
       121 S13TH ST
                                                                                 When was the debt inourred?             11/17/11
       Number          Street
                                                                                 As of the date you file, the oiaim is: Check all that apply.
       LINCOLN                                      NE          68508

       City                                        State       ZIP Code          G Contingent
                                                                                 G Unliquidated
       Who inourred the debt? Check one.
                                                                                 G Disputed
       a Debtor 1 only
       □ Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                                   Student loans
       Q At least one of the debtors and another                                 Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this oiaim is for a oommunlty debt
                                                                                 G Debts to pension or profit-sharing plans, and other similar debts
       is the elaim subjeetto offset?                                            G other. Specify
       ^ No
       Q Yes




Offifilal Form infiF/F                                   Schedule E/F; Creditors Who Have Unsecured Claims                                         page 4
 Debtor 1                  Case:
                    FLORANGEL    20-40001
                              MORALES                           Document: 1         Filed: 01/03/20       Page 27 of 62
                                                                                              Case number (ifknown)_



                 Your NONPRIORITY Unsecured Claims — Continuation Page


  After listing any entries on this page, number them beginning with 4.4,followed by 4.6, and so forth.                                                      Total olaim



4.10

       DEPT OF EDUCATION/NELN                                                      Last 4 digits of aeeount number 7686                                      1933.00
       Nonpriohty Creditor's Name

       121S13THST
                                                                                   When was the debt inourred?             6/5/11
       Number           Street
                                                                                   As of tho date you file, the olaim Is: Check all that apply.
        UNCOLN                                       NE          68508

       City                                         State       ZIP Code           Q Contingent
                                                                                   Q Unliquidated
       Who inourred the debt? Check one.
                                                                                   Q Disputed
       0 Debtor 1 only
       Q Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                                    student loans
       Q At least one of the debtors and another
                                                                                   Q Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as prionty claims
       □ Cheek if this elalm is for a eommunlty debt
                                                                                   Q Debts to pension or profit-sharing plans, and other similar debts
       Is the elalm subjeot to offset?                                             Q Other. Specify
       Si No
       Q Yes


4.11

        DEPT OF EDUCATION/NELN                                                     Last 4 digits of aooount number 7799                                  s 1755.00
       Norpriorlty Creditor's Name

       121S13THST
                                                                                   When was the debt Inourred?            6/23/10
       Number          Street
                                                                                   As of the date you file, the elalm is: Check all that apply.
        UNCOLN                                       NE          68508

       City                                         State       ZIP Code          G Contingent
                                                                                  □ Unliquidated
       Who inourred the debt? Check one.
                                                                                  Q Disputed
              Debtor 1 only
       □ Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               EI Student loans
       □ At least one of the debtors and anottier
                                                                                   Q Obligations arising outof a separation agreement or divorce that
                                                                                       you did not report as priority daims
       Q Cheok if this claim is for a oommunity debt
                                                                                   Q Debts to pension or profit-sharing plans, and other similar debts
       Is the olaim subjeot to offset?                                             Q other. Specify
       d No
       □ Yes

4.12
                                                                                                                                                              7126.00
       DEPT OF EDUCATION/NELN                                                     Last 4 digits of aeeount number 7786
       Nonpriority Creditor's Name
       121S13THST
                                                                                  When was the debt inourred?             6/5/11
       Number          Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
       LINCOLN                                       NE          68508

       City                                         State       ZIP Code          Q Contingent
                                                                                  Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                  Q Disputed
       B Debtor 1 only
       Q Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                                    student loans
       □ At least one of the debtors and another
                                                                                  Q Obligations arising outof a separation agreement or divorce that
                                                                                       you did not report as priority claims
       Q Cheek if this elalm Is for a community debt
                                                                                  □ Debts to pension or profit-sharing plans, and other similar debts
       is the claim subjeot to offeet?                                             Q other. Specify
       ^ No
       Q Yes




Official Form mfiP/F                                      Seheduia E/F: Creditors Who Have Unseeured Claims                                         page 4
 Debtor 1
                           Case:
                    FLORANGEL    20-40001
                              MORALES                           Document: 1         Filed: 01/03/20        Page 28 of 62
                                                                                              Case number {ifknown)_



                 Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4,followed by 4.6, and so forth.

4.13
       DEPT OF EDUCATION/NELN                                                     Last 4 digits of aeeount number 4786                                  s 3196.00
       Nonpriorily Crediiof's Name

       121 S13TH ST
                                                                                  When was the debt inourred?            11/17/11
       Number          Street
                                                                                  As of the date you file, the elalm is: Check all that apply.
       LINCOLN                                      NE          68508

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                  Q Disputed
       0 Debtor 1 only
       Q Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only                                                   Student loans
       Q At least one of the debtors and another                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this elaim is for a eommunity debt
                                                                                  Q Debts to pension or profit-sharing plans, and other similar debts
       is the oiaim subjoet to offeet?                                            Q other. Specify
       0 No
       Q Yes


4.14

       DEPT OF EDUCATION/NEUJ                                                     Last 4 digits of aeeount number 6999               .                      1076.00
       Nonpriority Creditor's Name

        121S13"mST
                                                                                  When was the debt inourred?            1Q/4/10
       Number          Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
        LINCOLN                                     NE           68508

       City                                        Stale       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who inourred the debt? Check one.
                                                                                  Q Disputed
              Debtor 1 only
       Q Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only                                               ^ Student loans
       a At least one of the debtors and anoUier                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this oiaim is for a eommunity debt
                                                                                  □ Debts to pension or profit-sharing plans, and other similar debts
       Is the elalm subjeet to offset?                                            Q other. Specify
       el No
       Q Yes

4.15
                                                                                                                                                        s 2880.00
       DEPT OF EDUCATION/NELN                                                     Last 4 digits of aeeount number 1386
       Nonpriority Creditor's Name
       121S13THST
                                                                                  When was the debt inourred?            7/26/12
       Number          Street
                                                                                  As of the date you file, the elalm is: Check all that apply.
        LINCOLN                                     NE           68508

       City                                        State       ZIP Code           □ Contingent
                                                                                  Q Unliquidated
       Who inourred the debt? Check one.
                                                                                  Q Disputed
              Debtor 1 only
       a Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               0 Student loans
       Q At least one of the debtors and another                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this eialm is for a eommunity debt
                                                                                  a Debts to pension or profit-sharing plans, and other similar debts
       Is the oiaim subjeet to offeot?                                            □ other. Specify
       ^ No
       □ Yes




OffiRial Form lOfiF/F                                    Schedule E/F: Creditors Who Have Urtseeured Claims                                        page 4
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                 Your NONPRIORITY Unsecured Claims — Continuation Page


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4.16
       DEPT OF EDUCATION/NELN                                                     Last 4 digits of aooount number 1286                                  s 6630.00
       Nonpriorlty Creditor's Name

       121 S13TH ST
                                                                                  When was the debt Inourred?             7/26/12
       Number           Street
                                                                                  As of the date you file, the olalm is: Check all that apply.
       UNCOLN                                       NE          68508

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                  Q Disputed
       B Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                                   student loans
       □ At least one of the debtors and another                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       □ Cheek if this olalm Is for a oommunity debt
                                                                                  □ Debts to pension or profit-sharing plans, and other similar debts
       Is the olalm subjeot to offset?                                            □ Other. Specify
       ^ No
       □ Yes


4.17

       DEPT OF EDUCATION/NELN                                                     Last 4 digits of aooount number 3999                                      857.00
       Nonpriority Creditor's Name

       121 SISTh ST
                                                                                  When was the debt Inourred?            12/1/10
       Number           Street
                                                                                 As of the date you file, the olalm Is: Check all that apply.
       LINCOLN                                      NE          68508

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                  Q Disputed
       a Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              ^ Student loans
       Q At least one of the debtors and another
                                                                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheok if this olalm is for a oommunity debt
                                                                                 Q Debts to pension or profit-sharing plans, and other similar debts
       Is the olalm subjeot to offset?                                           Q Other. Specify
       d No
       Q Yes

4.18
                                                                                                                                                            100.00
       DISNEY MOVIE CLUB                                                         Last 4 digits of aooount number UNKNOWN
       Nonpriority Creditor's Name
       P.O. BOX 738
                                                                                  When was the debt Inourred?            3/1/19
       Number           Street
                                                                                 As of the date you file, the elalm Is: Check all that apply.
       NEENAH                                       Wi          54957

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                  Q Disputed
              Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only                                               Q Student loans
       a At least one of the debtors and another
                                                                                  Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       □ Cheek if this elafm is for a oommunity debt
                                                                                  Q Debts to pension or profit-sharing plans, and other similar debts
       Is the olalm subjeot to offset?                                           B other. Specify COULD NOT MEET TERMS OF
       ^ No
       □ Yes




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 Debtor 1
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4.19
       FIRST PREMIER BANK                                                         Last4 digits of account number 4725                                   S 987.00
       Nonpriority Creditor's Name

       601 S MINNESOTA AVE
                                                                                  When was the debt Incurred?             11/16/16
       Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       SIOUX FALLS                                 SD           57104

       City                                        State       ZIP Code           G Contingent
                                                                                  G Unliquidated
       Who incurred the debt? Cheok one.
                                                                                  G Disputed
       B Debtor 1 only
       G Debtor 2 only                                                            Type of NONPRiORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               G student loans
       Q At least one of the debtors and another                                  G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       G Cheok If this olalm is for a oommunlty debt
                                                                                  G Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            B other. Specify CREDIT CARD
       0 No
       G Yes


4.20

       JUSTICE(FOR GIRLS)                                                         Last4 digits of account number UNKNOWN                                    470.00
       Nonpriority Creditor's Name

       8323 WALTON PARKWAY
                                                                                  When was the debt Incurred?            2016
       Number          Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
        NEW ALBANY                                  OH          43054

       City                                        State       ZIP Code           G Contingent
                                                                                  Q Unliquidated
       Who incurred the debt? Check one.                                          G Disputed
              Debtor 1 only
       G Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       G Debtor 1 and Debtor 2 only                                               □ Student loans
       G At least one of the debtors and another                                  G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       G Check if this claim is for a community debt
                                                                                  G Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            ^ Other. Specify CREDIT CARD
       el No
       G Yes

4.21
                                                                                                                                                        $ 5700.00
       KABBAGE LOAN                                                               Last 4 digits of account number UNKNOWN
       Nonpriority Creditor's Name
       730 PEACHTREE STREET NORTHEAST
                                                                                  When was the debt Incurred?            2015
       Number          Street
                                                                                  As of the date you file, the claim Is: Check all that apply.
       ATLANTA                                      GA           30308

       City                                        State       ZIP Code           G Contingent
                                                                                  G Unliquidated
       Who Inourred the debt? Check one.
                                                                                  G Disputed
       B Debtor 1 only
       G Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       G Debtor 1 and Debtor 2 only                                               □ Student loans
       G At least one of the debtors and another                                  G Obligations arising outof a separation agreement or divorce that
                                                                                      you did not report as priority claims
       G Check If this claim Is for a community debt
                                                                                  G Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            B other. Specify RESTART BUSINES
       ^ No
       G Yes




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                   First Name        Middle Name




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4.22

       LVNV FUNDING LLC                                                           Last 4 digits of account number 6414                                  S 632.00
       Nonpriority Creditor's Name

       PO BOX 740281
                                                                                 When was the debt Inourred?             3/16/18
       Number           Street
                                                                                 As of the date you file, the olalm is: Check all that apply.
       HOUSTON                                     TX           77274

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                  Q Disputed
              Debtor 1 only
       □ Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               Q Student loans
       Q At least one of the debtors and another                                 Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       □ Cheek if this claim Is for a eommunity debt
                                                                                  a Debts to pension or profit-sharing plans, and other similar debts
       Is the olaim subjeot to offset?                                            E3 Other. Spedlv OTHER
       a No
       Q Yes


4.23

       MERRICK BANKCORP                                                           Last 4 digits of aocount number                                       S 1133.00
       Nonpriority Creditor's Name

       PO BOX 9201
                                                                                 When was the debt Inourred?             7/9/17
       Number           Street
                                                                                 As of the date you file, the olaim is: Check all that apply.
       OLD BETHPAGE                                 NY          11804

       Cily                                        State       ZIP Code          Q Contingent
                                                                                 Q Unliquidated
       Who incurred the debt? Check one.
                                                                                 Q Disputed
       a Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              Q student loans
       Q At least one of the debtors and another                                 Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this claim Is for a community debt
                                                                                 Q Debts to pension or profit-sharing plans, and other similar debts
       is the claim subject to offset?                                           0 Other. SpecHv CREDIT CARD
       ^ No
       Q Yes

4.24
                                                                                                                                                            1450.00
       MIDUND FUNDING                                                            Last 4 digits of aocount number 7880
       Nonpriority Creditor's Name
       8875 AERO OR STE 200
                                                                                 When was the debt incurred?             7/3Q/18
       Number           Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       SAN DIEGO                                    OA          92123

       City                                        Stale       ZIP Code          Q Contingent
                                                                                 Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                 Q Disputed
       a Debtor 1 only                                                                        i
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               Q student loans
       Q At least one of the debtors and another                                 □ Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this claim is for a community debt
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subjeot to effeet?                                           0 Other. Specify OTHER
       ^ No
       □ Yes




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4.25

       NATIONAL CREDIT SYSTEM                                                    Last4 digits of account number 5697                                   s 6214.00
       Nonpriority Creditor's Name

       3750 NATURALLY FRESH BLV
                                                                                 When was the debt incurred?            8/28/18
       Number         Street
                                                                                 As of the date you file, the olalm is: Check all that apply.
       ATUNTA                                      GA           30349

       City                                        State       ZIP Code          G Contingent
                                                                                 G Unliquidated
       Who Incurred the debt? Check one.
                                                                                 Q Disputed
       Q Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              G student loans
       Q At least one of the debtors and another                                 G Obligations arising out of a separation agreement or divorce thai
                                                                                     you did not report as priority claims
       Q Cheek if this claim is for a community debt
                                                                                 G Debts to pension orprofit-shanng plans, and other similar debts
       is the claim subject to offset?                                           B other. Specify COLLECTION
       0 No
       Q Yes


4.26

       PORTFOLIO RECOVERY ASSOCIATES,ac                                          Last4 digits of account number 5339                                       998.00
       Nonpriority Creditor's Name

       120 CORPORATE BLVD
                                                                                 When was the debt Incurred?            3/20/19
       Number         Street
                                                                                 As of the date you file, the olalm Is: Check all that apply.
       NORFOLK                                      VA          23502

       City                                        State       ZIP Code          G Contingent
                                                                                 G Unliquidated
       Who incurred the debt? Check one.                                         G Disputed
       a Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              G Student loans
       Q At least one of the debtors and another                                 G Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       G Cheek if this claim is for a community debt
                                                                                 G Debts to pension or protit-sharlng plans, and other similar debts
       Is the claim subject to offset?                                           0 Other. Specify OTHER
       ^ No
       G Yes

4.27
                                                                                                                                                           341.00
       SYNCBTJX COS
                                                                                 Last 4 digits of aeeount number        3054
       Nonpriority Creditor's Name
       PO BOX 965005
                                                                                 When was the debt incurred?            9/30/16
       Number         Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       ORLANDO                                      FL          32896

       City                                        State       ZIP Code          G Contingent
                                                                                 G Unliquidated
       Who Ineurred the debt? Check one.                                         G Disputed.
       B Debtor 1 only
       G Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       G Debtor 1 and Debtor 2 only                                              G Student loans
       G At least one of the debtors and another                                 G Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       G Cheok if this olalm Is for a community debt
                                                                                 G Debts to pension or profit-sharing plans, and other similar debts
       Is the elalm subject to offset?                                           B other. Specify CREDIT CARD
       d No
       G Yes




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                 First Name          Middle Name




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4.28

       SANDFORD 49TH OXBOW•FAMILY MEDICINE(NICOLE VELGERSDVK LPC-MC)              Last 4 digits of account number UNKNOWN                               S 289.00
       Nonpriorlty Creditor's Name

       3401 W 49 STREET
                                                                                  When was the debt inourred?            8/19/19
       Number         Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       SIOUX FALLS                                 SD           57106

       City                                        State       ZIP Code           G Contingent
                                                                                  Q Unliquidated
       Who Ineurred the debt? Check one.                                          G Disputed
       Q Debtor 1 only
       □ Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               G student loans
       Q At least one of the debtors and another                                  G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this claim is for a community debt
                                                                                  G Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            B other. Specify MEDICAL
       0 No
       Q Yes


4.29

       SANDFORD HEALTH                                                            Last 4 digits of account number UNKNOWN                               s 3500.00
       Nonpriority Creditor's Name

       300 NORTH CHERAPA PLACE
                                                                                  When was the debt Inourred?            2019
       Number         Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       SIOUX FALLS                                  SD           57103

       City                                        State       ZIP Code           G Contingent
                                                                                  G Unliquidated
       Who incurred the debt? Check one.                                          G Disputed
       B Debtor 1 only
       G Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Debtor 2 only                                               G student loans
       a At least one of the debtors and another                                  G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Check if this claim Is for a community debt
                                                                                  G Debts to pension or profit-sharing plans, and other similar debts
       is the claim subject to offset?                                            0 other. Specify MEDICAL
       0 No
       Q Yes

4.30
                                                                                                                                                            250.00.
       SANDFORD WELLNESS CENTER                                                   Last 4 digits of account number UNKNOWN
       Nonpriority Creditor's Name
       4201 S OXBOW AVENUE
                                                                                  When was the debt inourred?            9/10/19
       Number          Street
                                                                                  As of the date you file, the elaim is: Check all that apply.
       SIOUX FALLS                                  SO           57106

       City                                        State       ZIP Code           G Contingent
                                                                                  G Unliquidated
       Who incurred the debt? Check one.                                          G Disputed
       B Debtor 1 only
       G Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               G student'loans
       □ At least one of the debtors and another                                  G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       G Cheek if this claim Is for a community debt
                                                                                  G Debts to pension or profit-sharing plans, and other similar debts
       is the claim subject to offset?                                            B Other. Specify WELLNESS
       0 No
       G Yes




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4.31
       THE BUREAUS INC                                                           Last 4 digits of aooount number .^96                                   s 464.00
       Nonpriority Creditor's Name

       1717 CENTRAL ST
                                                                                 When was the debt ineurred?             3/21/19
       Number         Street
                                                                                 As of the date you file, the eiaim is: Check all that apply.
       EVANSTON                                    IL           60201

       City                                        State       ZIP Code           Q Contingent
                                                                                  Q Unliquidated
       Who ineurred the debt? Check one.
                                                                                  Q Disputed
       S3 Debtor 1 only
       a Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              Q Student loans
       □ At least one of the debtors and another                                 □ Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this elaim is for a eommunity debt
                                                                                  Q Debts to pension or profit-sharing plans, and other similar debts
       Is the olaim subjeotto offset?                                             S3 other. Specify COLLECTION
       ^ No
       Q Yes


4.32

       TERRACES AT LAKE MARY                                                     Last 4 digits of aeeount number UNKNOWN                                s 6300.00
       Nonpriority Creditor's Name

       1000 REGAL POINTE TERRACE
                                                                                 When was the debt ineurred?             2017
       Number         Street
                                                                                 As of the date you file, the elaim is: Check all that apply.
       LAKE MARY                                    FL          32746

       City                                        State       ZIP Code          Q Contingent
                                                                                 Q Unliquidated
       Who Ineurred the debt? Check one.
                                                                                 □ Disputed
       a Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              □ Student loans
       □ At least one of the debtors and another                                 Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this eiaim Is for a eommunity debt
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
       Is the elaim subjeetto offset?                                             ^ Other. Specify RENT.
       ^ No
       □ Yes

4.33                                                                                                                                                        1100.00
       THE WALT DISNEY COMPANY - WALT DISNEY WORLD COMPANY (/i^NUAL PASSE        Last 4 digits of aeeount number UNKNOWN
       Nonpriority Creditor's Name
       P.O. BOX 10000
                                                                                 When was the debt Ineurred?             2/19/18
       Numtier        Street
                                                                                 As of the date you file, the eiaim Is: Check all that apply.
       LAKE BUSNA VISTA                             FL          32630

       City                                        State       ZIP Code          Q Contingent
                                                                                 Q Unliquidated
       Who Ineurred the debt? Check one.                                         Q Disputed
       a Debtor 1 only
       □ Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                               Q student loans
       Q At least one of the debtors and another                                 Q Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek if this elaim is for a eommunity debt
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
       Is the eiaim subjeet to offset?                                           E3 othpr. Sn^eif. DISNEY ANNUAL PASS. MOVE
       ^ No
       Q Yes




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4.34

       THEIS&TALLE                                                                Last4 digits of aooount number .5317                                     900.00
       Nonpriority Creditor's Name

       470 W 78STREET
                                                                                 When was the debt inourred?              10/31/14
       Number          Street
                                                                                  As of the date you file, the elaim Is: Check all that apply.
       CHANHASSEN                                   MN

       City                                        State       ZIP Code           G Contingent
                                                                                  G Unliquidated
       Who Ineurred the debt? Check one.
                                                                                  G Disputed
       B Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              G student loans
       a At least one of the debtors and another                                 G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       Q Cheek If this olafm Is for a oommunlty debt
                                                                                 G Debts to pension or profit-sharing plans, and other similar debts
       Is the olalm subjeotto offset?                                            B other. Snedfv MOVED OUT BEFORE LEASE I
       ^ No
       Q Yes


4,35

        WAYPOINT RESOURCE GROU                                                    Last4 digits of aooount number 4946                                      459.00
       Nonpriority Creditor's Name

        301 SUNDANCE PKWY
                                                                                  When was the debt ineurred?            1 2/1 3/18
       Number         Street
                                                                                 As of the date you file, the olafm Is: Check all that apply.
        ROUND ROCK                                  TX          78681

       City                                        State       ZIP Code          G Contingent
                                                                                 G Unliquidated
       Who inourred the debt? Check one.
                                                                                 G Disputed
       0 Debtor 1 only
       G Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       G Debtor 1 and Debtor 2 only                                              G Student loans
       G At least one of the debtors and another                                 G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       G Cheek if this olalm is for a oommunlty debt
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
       Is the olaim subjeotto offset?                                             0 Other. Specify COLLECTION
       ^ No
       G Yes

4.36
                                                                                                                                                       S 1040.00
        WALMART                                                                  Last 4 digits of aooount number UNKNOWN
       Nonpriority Creditor's Name
       702 SOUTHWEST 8TH STREET
                                                                                 When was the debt inourred?             2016
       Number         Street
                                                                                 As of the date you file, the olaim is: Check all that apply.
        BENTONVILLE                                 AR          72716

       City                                        State       ZIP Code          G Contingent
                                                                                 G Unliquidated
       Who inourred the debt? Check one.
                                                                                 G Disputed
       a Debtor 1 only
       G Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       G Debtor 1 and Debtor 2 only                                              G student loans
       G At least one of the debtors and another                                 G Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       G Check if this olaim is for a oommunlty debt
                                                                                 G Debts to pension or profit-sharing plans, and other similar debts
       Is the olaim subject to offset?                                                other. Specify CREDIT CARD
       ^ No
       G Yes




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4.37

        WELLS FAR60                                                              Last 4 digits of aoeount number 1296                                      849.58
       Nonpriority Creditor's Name

       420 MONTGOMERY STREET
                                                                                 When was the debt inourred?              7/3/18
       Number         Street
                                                                                 As of the date you file, the oiaim is: Check all that apply.
       SAN FRANCISCO                               CA          94104

       City                                        Stale      ZIP Code           Q Contingent
                                                                                 □ Unliquidated
       Who inourred the debt? Check one.
                                                                                 □ Disputed
       0 Debtor 1 only
       Q Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              Q student loans
       Q At least one ofthe debtors and another                                  □ Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       Q Cheok if this oiaim is for a oommunity debt
                                                                                 Q Debts to pension or profit-sharing plans, and other similar debts
       is the elaim subject to offset?                                           a other. Snecitv CHECKING ACCOUNT
       El No
       □ Yes



                                                                                 Last 4 digits of aooount number
       Nonpriority Creditor's Name
                                                                                 When was the debt Inourred?

       Number         Street
                                                                                 As of the date yeu file, the oiaim Is: Check all that apply.

       City                                        State      ZIP Code           Q Contingent
                                                                                 Q Unliquidated
       Who Inourred the debt? Check one.                                         Q Disputed
       Q Debtor 1 only
       □ Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       a Debtor 1 and Debtor 2 only                                              Q student loans
       □ At least one of the debtors and another
                                                                                 Q Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       Q Cheek if this oiaim is for a oemmunity debt
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
       Is the oiaim subjeotto offset?                                            Q other. Specify
       □ No
       Q Yes


                                                                                 Last 4 digits of aooount number
       Nonpriority Creditor's Name
                                                                                 When was the debt Inourred?

       Number          street
                                                                                 As of the date you file, the oiaim Is: Check ail that apply.

       City                                        State      ZIP Code           Q Contingent
                                                                                 Q Unliquidated
       Who Inourred the debt? Check one.
                                                                                 Q Disputed
       □ Debtor 1 only
       □ Debtor 2 only                                                           Type of NONPR|OR|TY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                              Q Student loans '
       Q Atleastoneofthe debtors and another                                     Q Obligations arising out of a separation agreement or divorce that
                                                                                     you 'did pot report' as priority claims
       Q Cheok if this oiaim is for a oommunity debt
                                                                                 Q Debts to pension or profit-sharing plans, and other similar debts
       is the olalm subject to effect?                                           Q Oth'er. Specify
       □ No
       □ Yes




Official Fnrm 106F/F                                    Sehadula E/F: Creditors: Who Have Unseeurad Claims                                        page 4
Debtor 1              Case:
               FLORANGEL    20-40001
                         MORALES                        Document: 1        Filed: 01/03/20       Page 37 of 62
                                                                                     Case number iirknom)
               Rrst Name     Middle Name




Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This Information Is for statistical reporting purposes only. 28 U.S.C.§169,
    Add the amounts for each type of unsecured claim.




                                                                                     Total claim



                6a. Domestic support obligations                           6a.                         0.00
Total claims
from Part 1
                6b. Taxes and certain other debts you owe the
                     government                                            6b.                         0.00

               6c. Claims for death or personal Injury while you were
                     Intoxicated                                           6c.                         0.00

               6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                               6d.                         0.00



               6e. Total. Add lines 6a through 6d.                         6e.
                                                                                                       0.00



                                                                                 Total claim


               6f. Student loans                                           6f.
Total claims                                                                                       30351.00
from Part 2
               6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                6g.                          0.00

               6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                          6h.                         0.00

               61. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                               6i.    +                 48809.20



               6j. Total. Add lines 6f through 6i.                         6j.
                                                                                                   79160.20




Official Form lOfiF/F                            Schedule E/P: Creditors Who Have Unsecured Claims                              page 14
                               Case: 20-40001                 Document: 1           Filed: 01/03/20            Page 38 of 62



  Debtor          FLORANGEL MORALES

  Debtor 2
 (Spouse If filing) RrstName


  United States Bankruptcy Court for the; DISTRICT OF SOUTH DAKOTA
  Case number
  (K known)                                                                                                                             □ Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G; Executory Contracts and Unexpired Leases                                                                                                12/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, copy the additional page, fill It out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number {If known).


 1. Do you have any executory contracts or unexpired leases?
     Q No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. FIN in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
     example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
     unexpired leases.



     Parson or company with whom you have the contract or lease                                State what the contract or lease Is for




      LLOYD COMPANIES                                                                   RENT
      Name

      3130 WEST 57TH STREET
      Number         Street

      SIOUX FALLS                     SD           57108
     City                               State      ZIP Code




                                        State      ZIP Code




                                        State      ZIP Code




                                        State      ZIP Code




Official Form 106G                              Schedule G; Exeeutorv Contracts and Unexoired Leases
                                    Case: 20-40001                      Document: 1      Filed: 01/03/20         Page 39 of 62


 Debtor 1          FLORANGEL MORALES
                     Flitf Name                   UMdIe Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                   Middle Name                Last Name

 United States Bankruptcy Court for the: DISTRICT OF SOUTH DAKOTA
 Case number
                                                                                                                                            □ Chedc If this is an
 (if known)


                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                 12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct Information. If more space Is needed, copy the Additional Page, fill It out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
ease number (If known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)                                                          |
      B No                                                                                                                                                         i
      □ Yes                                                                                                                                                        I
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and terntories include                          I
     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)                                                    i
      0 No. Go to line 3.
      a Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?                                                                        :
           □ No
           □ Yes. In which community state or terrttory did you live?                             . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or 1^1equivalent




 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor If your spouse Is filing with you. List the person
     shown In line 2 again as a codebtor only If that person Is a guarantor or cosigner. Make sure you have listed the creditor on
     Sc/iec/u/e D (Official Fomi 106D), Schedule E/F {01f\c\a\ Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your oodebtor                                                                           Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply;


                                                                                                          □ Schedule D, line
                                                                                                          □ Schedule E/F, line
         Nisnber           Street                                                                          a Schedule G. line



                                                                                                          □ Schedule D, line _
                                                                                                          □ Schedule E/F, line.
                                                                                                           □ Schedule G, line _



                                                                                                          □ Schedule D, line _
                                                                                                          □ Schedule E/F, line.
                                                                                                           □ Schedule G, line




Official Form 106H                                                        Schedule H; Your Codebtors
                                  Case: 20-40001         Document: 1           Filed: 01/03/20             Page 40 of 62



  Debtor 1          FLORANGEL MORALES

 Debtor 2
 (Spouse, If riling) First Nam«

                                       .
 United States Bankruptcy Court for the:   DISTRICT OF SOUTH DAKOTA

 Case number                                                                                       Check if this is:
  (If known)
                                                                                                   a An amended filing
                                                                                                   □ A supplement showing postpetltion chapter 13
                                                                                                         income as of the foliowing date:
Official Form 106!                                                                                       MM / DD / YYYY


Schedule 1: Your income
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct Information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse,
if you are separated and your spouse Is not filing with you, do not Include information about your spouse. If more space Is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                   Describe Employment


1. Fill in your employmerrt
    information.                                                       Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    Information about additional           Employment status          ^ Employed                                   G Employed
    employers.                                                        □ Not employed                               □ Not employed
    Include part-time, seasonal, or
    self-employed work-
                                           Ooeupatlon              SENIOR ADVISOR
    Occupation may include student
    or homemaker, If It applies.
                                           Employer's name         KELLY SERVICES


                                           Employer's address      999 WEST BIG BEAVER ROAD
                                                                    Number   Street                               Number   Street




                                                                   TROY                    Ml      48084
                                                                    City              state   ZIP Code                                 State   ZIP Code


                                           How long employed there?    4.5 YEARS


                   Give Details About Monthly income

    Estimate monthly Income as of the date you file this form. If you have nothing to report for any line, write $0 In the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this forni.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.      2.      ^ 2320 GO
 3. Estimate and list monthly overtime pay.                                           3. +$          0.00        + $

 4. Calculate gross Income. Add line 2 + line 3.                                      4.      $   2320.00



Official Form 1061                                              Schedule i: Your Income
                                      Case: 20-40001                        Document: 1                 Filed: 01/03/20                  Page 41 of 62
Debtor 1           FLORANGEL MORALES                                                                                      Case number (/cknown)



                                                                                                                      For Debtor 1                For Debtor 2 or
                                                                                                                                                  non-filino soous-el

     Copy line 4 here                                                                                     ■>4.        $       2320.00

5. Indicate whether you have the payroll deductions below:

      5a. Tax, Medicare, and Social Security deductions                                                       5a.     $           312.00            $

      5b. Mandatory contributions for retirement plans                                                        5b.     $              0.00           $

      5c. Voluntary contributions for retirement plans                                                        5c.     $              0.00           $

      5d. Required repayments of retirement fund loans                                                        5d.     $              0.00           $
      5e. insurance                                                                                           5e.     S              0.00           $

      5f. Domestic support obligations                                                                        5f.     $              0.00           $

      5g. Union dues                                                                                          5g.     $              0.00           $

      5h. Other deductions. Specify;                                                                          5h. +$                 0.00         + $

      Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e                           5f -*■ 5g -*■ 5h. 6.     $         312.00              $

      Calculate total monthiy take-home pay. Subtract line 6 from line 4.                                      7.     $       2008.00               $


     List all other Income regularly received:
      8a. Net Income from rental property and from operating a business,                                       8a.    $            0.00
          profession, or farm
            Atta^ a statement for each property and business showing gross receipts, ordinary and
            necessary business expenses, and the totai monthiy net income.


       8b. Interest and dividends                                                                                                  0.00
       8c. Family support payments that you, a non-filing spouse, or a dependent                                                   0.00
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce settlement, and
            property settlement

       8d. Unemployment compensation                                                                                               0.00
       8e. Social Security                                                                                                         0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance that you
            receive, such as food stamps or housing subsidies.
            Specify (Debtor 1);                    Specify (Debtor2 or Non-Filing Spouse);


                                                                                                                                    0.00


       8g. Pension or retirement Income                                                                                            0.00
       8h. Other monthiy Income.
            Specify (Debtor!):                    Specify (Debtor 2 or Non-Filing Spouse);


                                                                                                                                    n.nn


9.     Add all other Income. Add lines 8a + 8b + 8e + 8d + 8e + 8f +8g + 8h.                                                       0.00

10.Calculate monthly Income. Add line 7 + line 9.                                                                     $       2008.00                          0.00       s      2008.00
     Add the entries in line 10 for Debtor! and Debtor 2 or non-filing spouse.

ll State ail other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other friends cr
     relatives. Do not include any amounts already included in Iines2-!0oramcunts that are not available to pay e^nses listed in Schedu/e./.
                                                                                                               \
     Specily:                                                                                                                                                       11.+ $_            0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The resijit is the combined monthly income.                                                           2008.00
                                                                                                                                                                    12.
      Write that amount on the Summary of Your Assets and Uabilities and Certain Statistioal Information, If it applies
                                                                                                                                                                          Combined
12. Do you expect an Increase or decrease within the year after you file this form?                                                                                       monthly ineeme
            No.

       Q Yes. Explain:

Official Form 1061                                                                Schedule i: Your Income                                                                     page 2
                                   Case: 20-40001           Document: 1           Filed: 01/03/20               Page 42 of 62



                    FLORANGEL MORALES
                                                                                                     Check if this is:

   Debtor 2
   (Spouse, if filing) Flnt Name
                                                                                                    a An amended filing
                                                                                                    Q A supplement showing postpetition chapter 13
   United States Bankruptcy Courtfor the; DISTRICT OF SOUTH DAKOTA                                       expenses as of the following date:
   Case number                                                                                           MM I DDI YYYY
   (if known)




 Official Form 106J
 Schedule J; Your Expenses
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space Is needed,attach another sheet to this form. On the top of any additional pages, write your name and case number
 (If known). Answer every question.

                    DescritM Your Household


 1. Is this a joint case?

    ^ No. Go to line 2.
    □ Yes. Does Debtor 2 live In a separate household?

                Q Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                _
                                          ^                                      Dependent'ss relationship
                                                                                 Dtpendenf    reJationshIp to
                                                                                                           to              Dependmfs
                                                                                                                           Dependmfs        Does dependent live
    Do not list Debtor 1 and              M
                                          (9 Yes. FIN out this Information for   Debtor!
                                                                                 Debtor 1 or Debtor 2                      age
                                                                                                                           age              with you?
    Debtor 2.                                each dependent.
                                                  dependent                                                                                      '
    Do not state the dependents'                                                 CHILD
                                                                                 CHILD                                     17               ^
    names.


                                                                                 CHILD                                                      9
                                                                                                                                            0 Yes
                                                                                                                                            □ No


                                                                                                                                            □ No


                                                                                                                                            □ No
                                                                                                                                            □ Yes

 3. Do your expenses Include      0 No
    expenses of people other than p.
    yourself and your dependents? U Yes
                Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check tiie box at the top of the form and fill In the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included It on Schedule I: Your Income (Official Form 1081.)                                           Your expenses
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 805.00
      any rent for the ground or lot.

      If not included in line 4:

      4a.    Real estate taxes

      4b.    Property, homeowner's, or renter's insurance
      4c.    Home maintenance, repair, and upkeep expenses
      4d.    Homeowner's association or condominium dues                                                             4d.     $_


Official Form 106J                                          Schedule J: Your Expenses
                                 Case: 20-40001              Document: 1           Filed: 01/03/20      Page 43 of 62

    Debtor 1        FLORANGEL MORALES                                                      Case number (jrkmwn)_




                                                                                                                          Your expenses

                                                                                                                                            0.00
^ 5. Additional mortgage payments for your residence,such as home equity loans

    6. Utilities:

        6a. Electricity, heat, natural gas                                                                         6a.                     80.00

        6b. Water, sewer, garbage collection                                                                   6b.                          0.00
        6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                    200.00

        6d. Other. Specify:                                                                                        6d.                      0.00

    7. Food and housekeeping supplies                                                                              7.                     500.00

    6. Childeare and children's education costs                                                                    8.                       0.00

: 9. Clothing, laundry, and dry cleaning                                                                           9.                     150-00

10. Personal care products and services                                                                            10.                    250.00

11. Medical and dental expenses                                                                                    11.                      QUO.
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                          175.00
    Do not include car payments.                                                                                   12.


13. Entertainment, clubs, recreation, newspapers, magazines,and books                                              13.                    100.00

!14. Charitable contributions and religious donations                                                              14.                      0.00

;15. Insurance.
        Do not Include Insurance deducted from your pay or included In lines 4 or 20.

        15a. Life insurance                                                                                        15a.                     0.00

        15b. Health insurance                                                                                      15b.                     0.00

        15c. Vehicle insurance                                                                                     15c.                     0.00

        I5d. Other insurance. Specify:                                                                             15d.                    0.00


16. Taxes. Do not include taxes deducted from your pay or Included in lines 4 or 20.
                                                                                                                                            0.00
        Specify:                                                                                                   16.


17. Installment or lease payments:
        17a. Car payments for Vehicle 1                                                                            17a.

        17b. Car payments for Vehicle 2                                                                            17b.

        17c. Other. Specify:                                                                                       17c.


'       I7d. Other. Specify:                                                                                       17d.


18. Your payments of alimony, maintenance, and support that you did not report as deducted from
        your pay on line 6, Schedule I, YourIncome (Official Form 1061).                                            18.                     0.00

19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                     19.   $                 0.00

20. Other real property expenses not Included In lines 4 or 6 of this form or on Schedule I: Your Income.
        20a. Mortgages on other property                                                                       20a.                         0.00

        20b. Real estate taxes                                                                                 20b.                         Q.QO

        20c. Property, homeowner's, or renter's insurance                                                      20c.                         0.00

        20d. Maintenance, repair, and upkeep expenses                                                          20d.                         0.00

        20e. Homeowner's association or condominium dues                                                       20e.                         0.00



Official Form 106J                                           Schedule J: Your Expenses                                                      page 2
                                 Case: 20-40001            Document: 1           Filed: 01/03/20             Page 44 of 62

    Debtor 1        FLORANGEL MORALES                                                         Case number {ifi(nowri)_




21. Other. Specify: COIN LAUNDRY..                                                                                   21.   +$    50.00


22. Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                                22a.        2310.00

        22b. Copy line 22(monthly expenses for Debtor 2), if any,from Official Form 106J-2                         22b.            0.00

        22c. Add line 22a and 22b. The result Is your monthly expenses.                                             22c.        2310.00



23. Calculate your monthly net Income.
                                                                                                                                2008.00
      23a. Copy line 12(your combined monthly income)from Schedule I.                                               23a.


'     23b. Copy your monthly expenses from line 22c above.                                                          23b. -$     2310.00

      23o. Subtract your monthly expenses from your monthly Income.
                                                                                                                                -302.00
               The result Is your monthly net income.                                                               23c.




24. Do you expect an Increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      G No.
      0 Yes.         Explain here: UP. CLOTHES. SPECIAL DIETS. HYGEIENE/ HOME CLEAN.




Official Form 106J                                          Schedule J: Your Expenses                                              page 3
                                    Case: 20-40001     Document: 1            Filed: 01/03/20                 Page 45 of 62


Debtor 1           FLORANGEL MORALES

Debtor 2
(Spouse, If filing) First Nams

United States Bankrufrtcy Court for the: DISTRICT OF SOUTH DAKOTA
Case numtter
(If krtown)

                                                                                                                                         □ Check If this Is an
                                                                                                                                             amended filing


  Official Form 106Dec

  Declaration About an Individual Debtor's Schedules                                                                                                  12/15
  If two married people are filing together, both are equally responsible for supplying coirect information.
  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud In connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

      B No
       □ Yes. Nameofpersai                                                         .. Attach
                                                                                      At^h Bankruptcy
                                                                                             Bankruptcy Petition Prm
                                                                                                        Petition Preparer's Noticef Declaratkm, and
                                                                                       Signature (Official Form 119).




      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




                             Lie
        Signature of Debtor 1                                  Signature of Debtor 2


        DaleOL
            MM/        DD /1 YYYY
                                 202-0
                                                                    MM/ DD I     YYYY




 Offfcla! Form 106Dec                                Declaration About an Individual Debtor's Schedules
                                     Case: 20-40001          Document: 1           Filed: 01/03/20         Page 46 of 62



    Debtor 1            FLORANGEL MORALES
                        Rret Nema              Middia Name            Leet Name


    Debtor 2
   (Spouse, it fiting) Rmt Name                MldcSe Name            Last Name

    United States Bankruptcy Court for the: DISTRICT OF SOUTH DAKOTA
    Case number
    (If knowt)                                                                                                                      G Check if this is an
                                                                                                                                       amended filing



  Official Form 107
  Statement of Financial Affairs for Individuals Fiiing for Bankruptcy
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before



   1. What Is your current marital status?

        G Married
            Not married



   2. During the last 3 years, have you lived anywhere other ttian whw« you live now?
       □ No
       Of Yes. List all of tfte places you lived In the last 3 years. Do not include where you live now.
                 Debtor 1:                                      Dates Debtor 1     Debtor 2:                                            Dates Debtor 2
                                                                lived there                                                             lived there


                                                                                   □ Same as Debtor 1                                  G Same as Debtor 1

                  1065 REGAL POINTE TERRACE                     From 2015
                 Number         Street                                _ _ ,«           Number   Street
                                                                To    ZUl Q
                 113
                  LAKE MARY               FL       32746
                 city                      State ZIP Code                                                      State   ZIP Code


                                                                                   G Same as Debtor 1                                  G Same as Debtor 1


                 Number         Street                                                 Number    Street




                                          State   ZIP Code                                                     State     ZIP Code



   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? [Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ^ No
       G Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


                 Explain the Sources of Your income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy
                            Case: 20-40001               Document: 1             Filed: 01/03/20             Page 47 of 62

               FLORANGEL MORALES                                                                 Case number (trknoim)




  4 Did you have any income from empioyment or from operating a business during this year or the two previous calendar years?
    Fill In the total amount of Income you received from ail jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
     □ No
     0 Yes. Fill in the details.

                                                      Debtor 1


                                                      Sources of income          Gross income             Sources of Income         Gross Income
                                                      Chedc all that apply.      (before deductions and   Chedr all that apply,     (before deductions and
                                                                                 exclusions)                                        exclusions)

          From January 1 of current year until         Q Wages, commissions,                          A   Q Wages, commissions,
          the date you filed for bankruptcy:              bonuses, tips                                       bonuses, tips
                                                      □ Operating a business                              Q Operating a business

          For last calendar year:                     0 Wages, commissions,                               Q Wages, commissions,
                                                          bonuses, tips          $              24360       bonuses, tips
          (January 1 to December 31,                   Q operating a bu»ness                              Q Operating a business

          For the calendar year before that:          ^ Wages, commissions,                               a Wages, commissions,
                                                          bonuses, tips
                                                                                                26912         bonuses, tips
          (January 1 to December 31,                  □ Operating a business                              CJ Operating a business


  5. Did you receive any other Income during this year or the two previous calendar years?
     include income regardless of whether that income is taxable. Examples o1 other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits: royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have Income that you received together, list it only once under Debtor 1.
     List each source and the gross Income from each source separately. Do not Include income that you listed in line 4.
     Of No
     G Yes. Fill in the details.
                                                      Debtor 1                                             Debtors


                                                      Sources of Income          Gross Income from         Sources of Income        Gross Income from
                                                      Describe below.            each source               Describe below.          eacti source
                                                                                 (before deductions and                             (before deductions and
                                                                                 exctusiorts)                                       exclusions)



          From January 1 of current year until
          the date you filed for bankruptcy:




          For last calendar year:
          (January 1 to December 31, 2019



          For the calendar year before that:
          (January 1 to December 31, 2018 ^




Official Form 107                          Statement of Finencial Affairs for Individuals Filing for Bankruptcy                                   page 2
                               Case: 20-40001              Document: 1            Filed: 01/03/20             Page 48 of 62

Debtor 1       FLORANGEL MORALES                                                                 Case number {Hknown)_




             List Certain Payments You Made Before You Filed for Bankruptcy


     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     □ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debte are defined in 11 U.S.C. § 101(8) as
              "incurred by an individual primarily for a personal, family, or household purpose."
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

              □ No. Go to line 7.

              □ Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                       total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                       child support and alimony. Also, do not Include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     Ei Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              0 No. Go to line 7.
              □ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not Include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                   Dates of      Total amount paid           Amount you still owe   Was this payment for...
                                                                 ! payment


                    Creditor's Name
                                                                                                                                    Q Mortgage
                                                                                                                                    □ Car
                    Number     Street                                                                                               Q Credit card
                                                                                                                                    Q Loan repayment
                                                                                                                                    Q Suppliers or vendors
                    City                  State       ZIP Code                                                                      □ Other


                                                                                                                                    □ Mortgage
                    Creditor's Name
                                                                                                                                    □ Car

                    Number     Street
                                                                                                                                    □ Credit card
                                                                                                                                    a Loan repayment
                                                                                                                                    □ Suppliers or vendors
                    City                  State       ZIP Code
                                                                                                                                    □ Other



                                                                                                                                    □ Mortgage
                    Creditor's Name
                                                                                                                                    □ Car

                    Number     Street
                                                                                                                                    a Credit card
                                                                                                                                    □ Loan repayment
                                                                                                                                                    'ij
                                                                                                                                    a Suppliers or vendors
                    City                 State        ZIP Code
                                                                                                                                    □ Other




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3.
                              Case: 20-40001              Document: 1          Filed: 01/03/20            Page 49 of 62

Debtor 1        FLORANGEL MORALES                                                            Case number {HkntMn)_




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an Insider?
    Insiders inciude your reiatives; any generai partners; reiatives of any generai partners; partnerships of which you are a generai partner;
    coiporatlons of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent. Including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Inciude payments for domestic support obilgations,
     such as child support and alimony.

     Ef No
     Q Yes. List aii payments to an insider.
                                                              -bates of       Total amount     . Amount you still    Reason forthls payment
                                                               payment        paid              owe



           Insider's Name




           Number    Street




                                       state   ZIP Code




           Insider's Name



           Number    Street




                                       State   ZIP Code



 8. Within 1 year before you flied for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an Insider?
     include payments on debts guaranteed or coslgned by an insider.

     1^ No
     □ Yes. List all payments that benefited an insider.
                                                              Dates of        Total amount      Amount you still     Reason for this payment -
                                                              payment         paid              owe "
                                                                                                                     Include creditor's name



           Insider's Name




           Number    Street




                                       State   ZIP Code




           Insider's Name




           Number    Street




                                       State   ZIP Code




Official Form 107                         Statement of Financiai Affairs for individuais Filing for Bankruptcy                                   page 4
                                   Case: 20-40001           Document: 1          Filed: 01/03/20              Page 50 of 62

Debtor 1        FLORANGEL MORALES                                                               Case number (/rtowivn).




  Part 4:     Identify Legal Actions, Repossessions, and Foreclosures
     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List aii such matters, Inciuding personal injury cases, smaii claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

    ^ No
     Q Yes. Flii in the details.
                                                        Nature of the case                  Court or agency                                Status Of the case



           Case title                                                                      Court Name
                                                                                                                                           O Pending
                                                                                                                                           Q On appeal
                                                                                           Number   Street                                 □ Conduded

           Case number
                                                                                                                 State    ZIP Code




           Case title                                                                      Court Name
                                                                                                                                           □ Fending
                                                                                                                                           □ On appeal
                                                                                           Number   Street                                 □ Concluded

           Case number
                                                                                                                 State    ZIP Code




 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     CSf No. Go to line 11.
     □ Yes. Fill in the information below.

                                                                 Describe the property                                     Date          Value of the property




                Creditor's Name




               Number     Street                                 Explain what happened

                                                                 □ Property was repossessed.
                                                                 □ Property was foreclosed.
                                                                 Q Property was garnished.
                City                     state   ZIP Code        Q Property was attached, seized, or levied.
                                                                 Describe the property                                     Date           Value of the property




                Credrtor's Name




               Number     Street
                                                                 Explain what happened

                                                                 Q Property was repossessed.
                                                                 G Property was foreclosed.
               City                      State   ZIP Code
                                                                 □ Property was garnished.
                                                                 G Property was attached, seized, or levied.


Official Form 107                          Statement of Financial Affairs for individuals Filing for Bankruptcy                                   page 6
                                      Case: 20-40001                 Document: 1              Filed: 01/03/20           Page 51 of 62

    Debtor 1            FLORANGEL MORALES                                                                  Case number {inmowT\)_
                       First Name      Middle Name




     11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
             accounts or refuse to make a payment because you owed a debt?
             d No
             Q Yes. Fill in the details.

                                                                   Describe the action the creditor took                            Date action      ' Amount
                                                                                                                                    was taken
                Creditor's Name




                Number     Street




                City                           State ZIP Code      Last 4 digits cf account number XXXX-


I 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
I     creditors, a court-appointed receiver, a custodian, or another official?
I       M'      No
1            O Yes
                       List Certain Gifts and Contributions



     13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        0 No
        □ Yes. Fill in the details for each gift.

(
                                                                                                                                    Dates you gave          Value
                                                                                                                                    the gifts




                Person to Whom You Gave the Gift




                Number     Street




                City                           State   ZIP Code


                Person's relationship to you


                Gifts with a total value of rnore than $600       Describe the gifts                                                Dates you gave         Value
                per person                                                                                                          the gifts          ,             ::



                Person to Whom You Gave the Gift




                Number     Street




i
i

i



Official Form 107                                       Statement of Financial Affairs for individuals Filing for Bankruptcy                                       page 6
                                    Case: 20-40001                 Document: 1              Filed: 01/03/20              Page 52 of 62

Debtor 1             FLORANGEL MORALES                                                                      Case number {ifknom)
                     Fl;^Name        Middle Name




    14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a totai value of more than $600 to any charity?
       0 No
       □ Yes. Fill in the details for each gift or contribution.

              Gifts or contributions to charities               Describe what you contributed                                       Date you           .Value
              that total more than $600                                                                                             contributed    °




)          charity's Name




           Number       Street




         -^City           State          ZIP Code




    Part 6:          List Certain Losses


    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
        disaster, or gambling?

       IB* No
       □ Yes. Fill in the details.

              Describe the property you iost and                Describe any insurance coverage for the loss                        Date of your       Value of property
              howthe ioss occurred                                                                                                  loss               lost
                                                                Indude the amount that insurance has paid. List pending insurance
                                                                claims on line 33 of Schedule A/B: Property.




                  List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
       you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       M No
       Q Yes. Fill in the details.

                                                                Description and value of any property transferred                   Date payment or    Amount of payment
                                                                                                                                    transferwas
              Person Who Was Paid                                                                                                   made



              Number     Street                                                                                                                        $



                                                                                                                                                       $

              City                         State    ZIP Code



              Email or website address


              Person Who Made the Payment, if Not You



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankrpptoy                                      page 7
                                                                                                                           '\v-
                                  Case: 20-40001               Document: 1              Filed: 01/03/20           Page 53 of 62

Debtor 1           FLORANGEL MORALES                                                                   Case number
                   First Nam«     Middle Name




                                                             Description and value of any property transferred               Date payment or        Amount of
                                                                                                                             transfer was made      payment


           Person Who Was Paid



           Number        Street




           City                       State     ZIP Code




           Email or website address



           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

           No

     Q Yes. Fill in the details.
                                                             Description and value of any property transfeired               Date payment or       Amount of payment
                                                                                                                             transferwas .
                                                                                                                             made
            Person Who Was Paid



            Number       Street




            City                       State    ZIP Code


 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred In the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security Interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
    ^ No
     Q Yes. Fill in the details.
                                                             Description and value of property        Describe any property or payments received      Date transfer
                                                            transferred                               or debts paid In exchange                       wasmade

           Person Who Received Transfer




           Number       Street




           City                       state     ZIP Code


           Person's relationship to you.


           Person Who Received Transfer



           Number        Street




           City                       State     ZIP Code

           Person's relationship to you

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 8
                                    Case: 20-40001               Document: 1              Filed: 01/03/20             Page 54 of 62

Debtor 1             FLORANGEL MORALES                                                                   Case number (Hknom)
                     First Name     Middle Name




t 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
I      are a beneficiary?(These are often called assef-profecf/on dev/ces.)

       0 No
       □ Yes. Fill in the details.

                                                               Description and value of the property transferred                                          Date transfer
                                                                                                                                                          was made



           Name of trust




    Part 8:     List Certein Financial AccountSy instnimentsi Safe Deposit Boxesy and Storage Unite
    20. Within 1 year before you filed for bankruptcy, were any financlai accounts or Instruments held In your name, or for your benefit,
       closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
       brokerage houses, pension funds, cooperatives, associations, and other financial Institutions.
       IH No
       Q Yes. Fill In the details.
                                                               Last 4 digits of account number     Type of account or          Date account was    '   Last balance before
                                                                                                   Instrument                  closed, sold, moved,-   closing or transfer.
                                                                                                                               or transferred


              Name of Financial Institution
                                                               xxxx-                               Q Checking
              Number       Street
                                                                                                   Q Savings
                                                                                                   Q Money market
                                                                                                   Q Brokerage
              City                      State     ZIP Code
                                                                                                   Q Other


                                                               XXXX-                               □ Checking
              Name of Rnanclal Institution
                                                                                                   Q Savings
              Number       Street                                                                  Q Money market
                                                                                                   Q Brokerage
                                                                                                   Q Other
              City                      state     ZIP Code


    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
       securities, cash, or other valuables?
       Of No
       □ Yes. Fill In the details.
                                                               Who else had access to It?                       Describe the contents                         Do you still
                                                                                                                                                              have It?




              Name of Financial Institution                                                                                                                   □ Yes
                                                              Name



              Number       Street                             Number   Street




                                                              City       State      ZIP Code

            City                        State     ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 9
                                  Case: 20-40001                   Document: 1               Filed: 01/03/20               Page 55 of 62

Debtor 1           FLORANGEL MORALES                                                                           Case number(ifknom)
                   First Name     MWdleNante




22.Have you stored property In a storage unit or place other than your home within 1 year before you filed for bankruptcy?
   0 No
    □ Yes. Fill In the details.
                                                              Who else has or had access to It?                     Describe the contents        Do you Still
                                                                                                                                                have It?


                                                                                                                                                 □ No
            Name of Storage Facility                          Name
                                                                                                                                                 □ Yes

            Number       Street                               Number    Street




                                                              CityState ZIP Code

            City                        State    ZIP Code




                    Identify Property You Hold or Control for Someone Els©
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     1^ No
     □ Yes. Fill in the details.
                                                             Where Is the property?                                 Describe the property    Value




            Owner's Name


                                                            Number     Street
            Number       Street




                                                            City                          State     ZIP Code
            City                        State    ZIP Code


 Part 10            GIvo Dotalla About Environmental information

 For the purpose of Part 10, the following definitions apply:
 B Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 B Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.
 B Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or In violation of an environmental law?

     ^ No
    □ Yes. Fill In the details.
                                                             Governmental unit                          Environmental jaw, If you know It   Date of notice




           Name of site                                     Governmental unit



           Number      Street                               Number     Street



                                                            City                 State   ZIP Code




           City                        State    ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 10
                                 Case: 20-40001              Document: 1                  Filed: 01/03/20               Page 56 of 62

Debtor 1       FLORANGEL MORALES                                                                          Case number (irtojov»n)_




 25. Have you notified any governmental unit of any release of hazardous material?

    0 No
    Q Yes. Fill In the details.
                                                       Govenimentai unit                             Environmental law, If you know It                      Date of notice




            Name of site                              Governmental unit



            Number      Street                        Number   Street




                                                      City                state    ZIP Code


            City                   State   ZIP Code



 26.Have you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     B No
     Q Yes. Fill In the details.
                                                                                                                                                             Status of the
                                                        Court or agency                                   Nature of the case
                                                                                                                                                             case


           Case title

                                                        Court Name
                                                                                                                                                             Q Pending
                                                                                                                                                             Q On appeal
                                                        Number   Street                                                                                      □ Concluded

           Case number
                                                        City                      state   ZiP Code




 Part 11    J Give Details About Your Bualnoas or Connections to Any Bualneaa
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           Q A sole proprietor or self-employed In a trade, profession, or other activity, either full-time or part-time
           □ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           Q A partner in a partnership
           Q An officer, director, or managing executive of a corporation
           Q An owner of at least 6% of the voting or equity securities of a corporation
           No. None of the above applies. Goto Part 12.
     Q Yes. Check all that apply above and fill In the details below for each business.
                                                        Describe the rrature of the business                               Employer Identification number
                                                                                                                           Dei riot include Social Securi^ number or ITIN.
            Business Name


                                                                                                                           EIN:           -
            Number      Street

                                                        Name Of accountant or bookkeeper-                                  Dates business existed


                                                                                                                           From                To
            city                   State   ZIP Code

                                                        Describe the nature of the business                                Employer Identification number
                                                                                                                           Do not Include Social Security number or JTIN.
            Business Name


                                                                                                                           EIN:           -
            Number      Street
                                                        Name of accountant or bookkeeper                                   Dates business existed



                                                                                                                           From                To
            City                   state   ZIP Code


Official Form 107                            Statement of Financial Affairs for individuals Filing for Bankruptcy                                              page 11
                                  Case: 20-40001                Document: 1            Filed: 01/03/20            Page 57 of 62

Debtor 1      FLORANGEL MORALES                                                                       Case number lifkmwn)
                  First Name       Middle Name




                                                              Describe the nature of the business
                                                                                                                    Employer Identification number
                                                                                                                    Do.not Include Social Security number or ITIN.
            Business Name

                                                                                                                    EIN:          -
           Number       Street
                                                              Name of accountant or bookkeeper                      Dates business existed




                                                                                                                    From               To
           City                         State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
     Institutions, creditors, or other parties.

     ^ No
     Q Yes. Fill In the details below.
                                                              Date Issued




           Name                                               MM/DD/YYYY




           Number       Street




           City                        State     ZIP Code




 Part 12          Sign Below

      i have read the answers on this Statement of Financial A^irs and any attachments, and i declare under penalty of perjury that the
      answers are true and correct, i understand that making a felse statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result In fines up to $260,000, or imprisonment for up to 20 years, or both.
      18 U.S.C.§§ 162,1341,1619, and 3671.




           Signature of Debtor 1                                              signature of Debtor 2


           Date 0(             DS 202X>                                       Date

      Did you attae 1 additional pages to Your Statement ofFinancial Afhirs for individuals Filing for Bankruptcy {OtflG}al Form 107)?

      10 No
      Q Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      B No
      □ Yes. Name of person                                                                                . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                             Declaration, and Signature (Offidal Form 119).




Official Form 107                                  Statement of Financial Affairs for individuals Filing for Bankruptcy                                page 12
                                  Case: 20-40001            Document: 1                Filed: 01/03/20           Page 58 of 62
     Fill In this Information to identify your ease:                                                     Check one box only as directed In this form and In
                                                                                                         Form 122A-1Supp:
 Debtw 1          FLORANGEL MORALES
                                                                                                            1. There Is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) first Nsne              Middle Name             Last Name                           Q 2. The calculation to determine if a presumption of
                                                                                                               abuse applies will be made under Chapter 7
 u„««iStetesBa„k™«cou.form.: DISTRICT OF SOUTH DAKOTA                                                          Means Test Calculation (Official Form 122A-2).
 Case number                                                                                             □ 3. The Means Test does not apply now because of
 (If known)                                                                                                    qualified military service but it could apply later.


                                                                                                         □ Check if this Is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly income                                                                                                               12/19
Be as complete and accurate as possible. If two married people are filing together, botii are equally responsible for being accurate. If more
space Is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (If known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                   Calculate Your Current Monthly Income

      1. What Is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
         Q Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         □ Married and your spouse is NOT filing with you. You and your spouse are:
              □ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Q Living separately or are legally separated. FIN out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of pequry that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not Include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C, § 101(1OA). For example, If you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly Income varied during the 6 months, add the Income for all 6 months and divide the total by 6.
 ;       Fill In the result. Do not include any income amount more than once. For example, If both spouses own the same rental property, put the
 j       income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A             Column B
                                                                                                           Debtor 1             Debtor 2 or
                                                                                                                                non-filing spouse

      2. Your gross wages, salary, tips, bonuses, overtime, and commissions
                                                                                                            $ 2504.54
         (before all payroll deductions).
      3. Alimony and maintenance payments. Do not Include parents from a spouse if
         Column B Is filled in.

      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only If Column B is not
         filled In. Do not include payments you listed on line 3.
      5. Net Income from operating a business, profession,                       1     Debtor 2
         or farm                                                           _     _ _
         Gross receipts (before all deductions)                        $ U.UU $
         Ordinary and necessary operating expenses                  - $ 0 00$
                                                                                                  Copy
         Net monthly Income from a business, profession, or farm       5 Q.QO $                   here^

      6. Net income from rentol and other real property              Debtor 1          Debtor 2
         Gross receipts (before all deductions)                        S 0.00           $
          Ordinary and necessary operating expenses                 -$0 00-s
                                                                                                  Copy
         Net monthly Income from rental or other real property         $ 0.00 $                   here*7

      7. Interest, dividends, and royalties



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
                              Case: 20-40001               Document: 1           Filed: 01/03/20               Page 59 of 62

Debtor 1         FLORANGEL MORALES                                                               Case number (irtoioiwi)_



                                                                                                     Column A                Column B
                                                                                                     Debtor 1                Debtors or
                                                                                                                             non-filing spouse
   8. Unemployment compensation                                                                                  0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list It here:
            For you                                                 $           0.00
            For your spouse                                         $
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act Also, except as stated In the next sentence, do
      not Include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that It
       does not exceed the amount of retired pay to which you would otherwise be entitled if
       retired under any provision of title 10 other than chapter 61 of that title.                              0.00
   10. income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
                                                                                                                0.00


           Total amounts from separate pages, if any.                                               +$_                      + $_

   11. Calculate your total current monthly Income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                              $ 2504.54                         0.00     $    2504.54
                                                                                                                                                  Total current
                                                                                                                                                  monthly Income

                 Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                        .Copy line 11 here*^'.'   $ 2504.54
               Multiply by 12(the number of months in a year).                                                                                   X 12
      12b. The result is your annual income for this part of the form.                                                                  12b.     $ 30054.48


   13. Calculate the median family Income that applies to you. Follow these steps:

       Fill in the state In which you live.                         SD

      FIN In the number of people in your household.

       Fill In the median family income for your state and size of household                                                           .13.      $ 69074.00
      To find a list of applicable median income amounts, go online using the link specified in the separate
      instructions for this forni. This list may also be available at the bankruptcy clerk's office.


  14. How do the lines compare?


      14a. a Line 12b is less than or equal to line 13. On the top of page,1,check box 1, There is no presumption ofabuse.
                  Go to Part 3. Do NOT fill out or file Official Form 122A-2




      14b. a Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                   page 2
                           Case: 20-40001               Document: 1             Filed: 01/03/20                Page 60 of 62

Debtor 1     FLORANGEL MORALES                                                                    Case number (iffcnown)_



               Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


              X                              Dojy—                                           X
                 Signature of Debtor 1 w     .                                                   Signature of Debtor 2
                                  1
                 Date Of                                                                         Date
                       MM/                                                                              MM/ DD     /YYYY


                 If you checked line 14a, do NOT fill out or file Form 122A-2.
                 If you checked line 14b, fill out Form 122A-2 and file It with this form.




Official Form 122A-1                       Chapter 7Statement of Your Current Monthly Income                                                   page 3
                                 Case: 20-40001               Document: 1        Filed: 01/03/20             Page 61 of 62



Debtor 1           FLORANGEL MORALES

Debtor 2
(Spouse, if filing) First Nam*


United States Banlvuptcy C(Hirt for the: DISTRICT OF SOUTH DAKOTA
Case number                                                                                                                         a Check if this is an
(if known)                                                                                                                              amended filing




  Official Form 108
  Statement of Intention for individuals Filing Under Chapter 7                                                                                   12/16
  If you are an Individual filing under chapter 7, you must fill out this form if:
  ■ creditors have claims secured by your property, or
  ■ you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a Joint case, both are equally responsible for supplying eorreet information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space Is needed,attach a separate sheet to this form. On the top of any additional pages,
  write your name and oase number (if known).

                     List Yoiir Creditors Who Have Secured Ciaims


    1. For any creditors that you listed In Part 1 of Schedule D: Creditors Who Have Claims Secured by Property {Offio\a\ Form 106D), fill In the
         Information below.

           Identify the erediter and the property that Is eollaterai          What do you intend to do with die property that   Did you claim tha property
                                                                              seeures a debt?                                   as exempt en Sehedule C?

          CreiJitor's                                                        Q Surrender the property.                          G No
                                                                             G Retain the property and redeem it.               G Yes
          Description of
         property                                                            G Retain the property and enter into a
         securing debt;                                                          Reaffirmation Agreemer)t.
                                                                             G Retain the property and [explain];


         Creditor's                                                          G Surrender the property.                          G No
                                                                             G Retain the property and redeem it.               G Yes
         Description of
         property                                                            G Retain the property and enter into a
         securing debt;                                                         Reaffirmation Agmement.
                                                                             G Retain the property and [explain];


         Creditor's                                                          G Surrender the property.                          G No
         name;
                                                                             G Retain the property and redeem H.                G Yes
         Description of
         property                                                            G Retain the property and enter into a
         securing debt:                                                         Reaffirmation Agreement.
                                                                             G Retain the property and [explain];


         Creditor's                                                          G Surrender the property.                          G No
         name:
                                                                             G Retain the property and redeem it.               G Yes
         Description of
         property
                                                                             G Retain the property and enter into a
         securing debt;                                                         Reaffinnation Agreement.
                                                                             G Retain the property and [explain];


  Official Form 108                          Statamont of intention for Individuals Fiilna Under Chaoter 7
                                    Case: 20-40001     Document: 1                Filed: 01/03/20              Page 62 of 62
 Debtor 1           FLORANGEL MORALES                                                             case number (///rnow/?).


                    List Your Unexpired Personal Property Leases

     For any unexpired personal property lease that you listed In Schedule G;Executory Contracts and Unexpired Leases(Official Form 106G),
 1 fill in the Information below. Do not list real estate leases. Unexpired leases are leases that are still In effect; the lease period has not yet
 i ended. You may assume an unexpired personal property lease If the trustee does not assume It. 11 U.S.C.§ 366(p)(2).

 I       Describe your unexpired personal property leases                     '                                              : Will the lease be assumed?

 I      Lessor's name:                                                                                                       □ [vjo
                                                                                                                             Q Yes
        Description of leased
        property:


        Lessor's name:                                                                                                       □

                                                                                                                             Q Yes
        Description of leased
        property:


 j      Lessor's name:                                                                                                       □
I       Description of leased                                                                                                □ Yes
I       property:
i                                       —                                                _   __      _
!
 j      Lessor's name:                                                                                                       □ nq

i       Description of leased
i       property:


 1 Lessor's name:                                                                                                            □ fjo
        Description of leased
        property:


        Lessor's name:                                                                                                       □
                                                                                                                             Q
        Description of leased
        property:



        Lessor's name:                                                                                                       □ fyjQ

        Description of leased
        property:




                  Sign Below



      Under penalty of perjury, I declare that Ihave Indicated my Intention about any property of my estate that secures a debt and any
      personal property that Is subject to an unexpired lease.



                     [lA
       Signature of D&^r 1                                       Signature of Debtor 2

            Of '
            MM/
                     fB
                    DD   /   YYYY
                                                                 Date
                                                                        MM/   DD /   YYYY




Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
